                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR
ADMISSIONS, INC.,
                         Plaintiff,
v.                                     CASE NO. 1:14-CV-954

THE UNIVERSITY OF NORTH
CAROLINA et al.,
                         Defendants.


                 UNC DEFENDANTS’ PROPOSED FINDINGS
                  OF FACT AND CONCLUSIONS OF LAW




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                                     INTRODUCTION

       The evidence presented at trial demonstrated that The University of North

Carolina at Chapel Hill (the “University”) employs a holistic, individualized, race-

conscious admissions program for the right reason (to further a compelling interest in the

educational benefits of diversity) and in the right way (constitutionally). Although the

Complaint in this action called into question the University’s sincerity and lodged serious

accusations of cheating against the University and its officials, most of these allegations

were abandoned by plaintiff Students for Fair Admissions (“SFFA”) at trial and none

were substantiated by the evidence. To the contrary, the UNC Defendants1 carried their

burden to satisfy strict scrutiny, demonstrating through credible witness testimony and

ample record evidence that the University has a genuine and compelling interest in the

educational benefits of diversity and that its admissions program is narrowly tailored to

achieve that interest.

       First, the University’s compelling interest in the educational benefits that flow

from a diverse student body was overwhelmingly established and uncontested. University

witnesses credibly testified at trial and in multiple submitted declarations that a diverse

campus community is critically important to the University’s mission and that racial

diversity, in particular, imparts distinct educational benefits that the University strives to



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    The “UNC Defendants” include the University and certain of its employees, the University of
    North Carolina Board of Governors and its individual members, and the University of North
    Carolina System and its president. (See infra, Proposed Findings of Fact ¶¶2-4, 6-8.)




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attain. The Supreme Court has recognized as a compelling interest many of the same

benefits of racial diversity that University witnesses described and experienced, including

breaking down stereotypes, promoting learning outcomes, and preparing students for an

increasingly diverse workforce and society. Fisher v. Univ. of Tex. at Austin, 136 S. Ct.

2198, 2210 (2016) (“Fisher II”). SFFA did not challenge the existence of these benefits

and its expert witness acknowledged they are real.

       Moreover, voluminous record evidence, including witness testimony, declarations,

and uncontradicted expert reports, demonstrated that the University’s commitment to

attaining these benefits is deliberate, long-standing, and sincere. The University

systematically engages diversity throughout its academic and extracurricular

programming, housing initiatives, and affinity groups so that its students can experience

the educational benefits of diversity. The University also routinely assesses whether

students are experiencing these benefits. But the evidence demonstrated that the

University has not yet fully realized its diversity goals. Minority students remain

underrepresented on campus and in certain fields of study, compromising the

University’s ability to deliver the educational benefits of diversity, and warranting the

University’s sustained efforts to improve.

       At trial, SFFA did not challenge this evidence or otherwise contest the

University’s good faith in its pursuit of the educational benefits of diversity. In these

circumstances, the University’s good faith is both presumed and conclusively proven. See

Grutter v. Bollinger, 539 U.S. 306, 329 (2003). In short, the University has established its

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compelling interest in the educational benefits of diversity and its academic judgment to

pursue this interest is entitled to judicial deference. Fisher v. Univ. of Tex. at Austin, 570

U.S. 297, 310-11 (2013) (“Fisher I”).

       Second, the UNC Defendants demonstrated that, consistent with Supreme Court

guidance, the University engages in an individualized, holistic review of each application

for admission, considering race flexibly, as only one factor among all the many qualities

an applicant may possess. SFFA’s experts readily agreed that the University’s admissions

process is holistic. And nothing in the record suggests that the University engages in

prohibited practices. Quite the opposite: the record uniformly supports that the University

does not assign automatic points for race, employ quotas, review minority applicants in

separate categories or according to different standards, engage in racial balancing, or

intentionally discriminate against any applicants. SFFA abandoned all contrary

allegations at trial by failing to present any evidence on these issues whatsoever.

       Despite overwhelming evidence that the University has scrupulously complied

with Supreme Court guidance, SFFA sought to use expert statistical analysis to contend

that race, nevertheless, plays an outsized role in the University’s admissions process. But

the expert evidence presented at trial did not support SFFA’s argument. The University’s

expert, Professor Caroline Hoxby, empirically demonstrated, through careful econometric

analysis, that race and ethnicity explains only a small share of the admission decision

under either party’s preferred model. Tellingly, SFFA’s expert, Professor Peter

Arcidiacono, agreed that race is not a dominant factor across the University’s entire

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admissions process. And Professor Arcidiacono’s opinion that race is dominant for a

subset of applicants—even if credible (which it was not)—does not mean that the

University uses race in an unconstitutional way. To the contrary, the Supreme Court has

expressly condoned the use of race when it plays a role in only a small portion of

admissions decisions, declaring it a “hallmark of narrow tailoring, not evidence of

unconstitutionality.” Fisher II, 136 S. Ct. at 2212.

       Third and finally, the UNC Defendants demonstrated that the University has

seriously and in good faith considered race-neutral alternatives to its race-conscious

admissions practices, but found none that would allow it to achieve its compelling

interest about as well and at tolerable administrative expense. The record shows that the

University has regularly studied race-neutral alternatives since at least 2004, including

reviewing race-neutral admissions programs implemented by other colleges, researching

social science and legal literature, conducting admissions simulations, and convening two

separate committees to rigorously explore race-neutral alternatives.

       University witnesses credibly testified at trial that these efforts have yet to reveal a

race-neutral alternative that could be substituted for race-conscious review. Expert

testimony supported this conclusion. Professor Hoxby conducted exhaustive simulations

of race-neutral alternatives, making generous assumptions designed to favor their

viability, but found none that could allow the University to maintain diversity and

academic excellence. Although SFFA’s race-neutral alternative expert, Richard

Kahlenberg, posited that the University could implement a race-neutral alternative, his

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opinions were biased, overly optimistic, and, in certain respects, divorced from reality.

Likewise, Mr. Kahlenberg’s suggestion that the University could satisfy its compelling

interest merely by enhancing certain race-neutral strategies to which the University

already devotes substantial resources—including partnering with disadvantaged high

schools, facilitating community college transfers, and awarding generous financial aid—

lacks credibility, especially in light of his concession that these strategies could not fully

replace race-conscious admissions.

       Simply put, the evidence presented at trial overwhelmingly supports the

conclusion that the University’s admissions process is constitutional under controlling

Supreme Court precedent because the University engages in individualized, holistic

admissions decisions, considering race as only one factor among many, and no workable,

race-neutral alternative exists that could achieve the University’s goals about as well and

at tolerable administrative expense. Although SFFA has not disguised its desire to

eventually challenge the controlling precedent, all parties agree that this Court is bound to

apply the prevailing law. (See ECF 209 (UNC Defs.’ Unopposed Mot. for Partial J.); ECF

210 (granting judgment in favor of UNC Defendants on Count III).) And under those

standards, the record is clear: the UNC Defendants have carried their burden in this case.

The Court should grant judgment in favor of the UNC Defendants on Counts I and II of

the Complaint, and deny SFFA’s bid to disable the University from pursuing its

compelling interest in diversity by considering race in admissions.



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                           PROPOSED FINDINGS OF FACT

        These proposed findings of fact reflect evidence presented during the trial

conducted from November 9 through November 19, 2020, and the parties’ Joint

Statement of Undisputed Facts (ECF No. 225 (“JSF”).)

I.      THE PARTIES

        1.     Plaintiff Students for Fair Admissions, Inc. is an Internal Revenue Code

Section 501(c)(3) organization. Its stated mission is “to defend human and civil rights

secured by law, including the right of individuals to equal protection under the law,

through litigation and any other lawful means.” (JSF ¶1.) SFFA is a voluntary

membership association comprised of more than 20,000 members, including, among

others, applicants who have applied for and were denied admission to the University.

(Id.)

        2.     Defendant The University of North Carolina at Chapel Hill was founded in

1789 as the nation’s first public university. (JSF ¶2.) The University is a constituent

institution of defendant University of North Carolina System (the “UNC System”). (JSF

¶4.)

        3.     Defendant University of North Carolina Board of Governors is the

governing body of the UNC System. (JSF ¶5.) The Board of Governors has responsibility

for the planning, development, and overall governance of the UNC System pursuant to

Chapter 116 of the North Carolina General Statutes. (JSF ¶6.)



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       4.    Defendant Peter Hans is President of the UNC System and its chief

administrative and executive officer. He has authority to manage the affairs and execute

the policies of the UNC System, subject to the direction of the Board of Governors. (JSF

¶7.)

       5.    The University’s Board of Trustees serves as an advisor to the Board of

Governors on matters pertaining to the University. (JSF ¶8.) The Board of Trustees also

serves as an advisor to the Chancellor concerning the management and development of

the University. (JSF ¶12.) The Board of Trustees is composed of thirteen persons: eight

are elected by the Board of Governors, four are appointed by the North Carolina General

Assembly, and the remaining member is the student body president, ex officio. (JSF ¶9.)

The Board of Trustees and its individual members were initially named as defendants to

this action, but they were dismissed in 2015. (JSF ¶10.)

       6.    The University’s Chancellor is responsible for carrying out the policies of

the Board of Governors and the Board of Trustees and is vested with executive authority

over the University, subject to the direction of the President of the UNC System. The

Chancellor of the University is Defendant Kevin Guskiewicz, who succeeded Carol Folt

in 2019. (JSF ¶11.)

       7.    Defendant Robert Blouin is the Executive Vice Chancellor and Provost of

the University; Dr. Blouin succeeded James Dean in 2017. (JSF ¶17.)




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        8.    Defendant Stephen Farmer was the University’s Vice Provost for

Enrollment and Undergraduate Admissions from 2011 through 2020. (Tr. 512:10-22

(Farmer).)

II.     THE UNIVERSITY HAS A COMPELLING INTEREST IN ATTAINING
        THE EDUCATIONAL BENEFITS OF DIVERSITY

A.      Diversity Is a Critical Component of the University’s Mission

        9.    The University is a public institution that is responsible to the people of

North Carolina. (Tr. 518:5-13 (Farmer).) As set forth in its mission statement, the

University exists to serve as a center for research, scholarship, and creativity, and to teach

a diverse community of undergraduate, graduate, and professional students to become the

next generation of leaders. (JSF ¶3; DX001 at 1; Tr. 780:3-10 (Panter).)

        10.   The University has determined, in its academic judgment, based on

experience and evidence, that in order to prepare the next generation of leaders for North

Carolina and the country, the University must provide students with the experience of

learning and living alongside people from different backgrounds. (Tr. 518:18-24

(Farmer).) The University has long recognized that it must admit and enroll a diverse

student body to realize this goal. (DX120 ¶20; DX003 at 3; DX135 ¶¶56-57; DX006 at

28; DX002 at 1.)

        11.   The University defines diversity to include “all of the ways in which people

differ.” (DX088 at 6.) Accordingly, the University strives to foster a campus community

that varies in multifaceted ways, including social backgrounds, economic circumstances,


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philosophical outlooks, life experiences, perspectives, beliefs, expectations, and

aspirations. (Deposition of Carol Folt (“Folt Dep.”) at 29:14-22.)2

       12.     Diversity includes racial and ethnic differences, which combine with

multiple other individual characteristics to create an “exciting environment for learning.”

(Folt Dep. at 32:7-14.) Racial and ethnic diversity, in particular, provides unique

educational benefits and is essential to the achievement of the University’s goals. (Tr.

526:24-527:14 (Farmer); Tr. 782:1-3, 861:9-862:4 (Panter); DX003.) The University’s

former Chancellor testified that it is “critical” to expose students to a “broad range of

diversity” in college that mirrors what they will face as the next generation of leaders.

(Folt Dep. at 31:5-20.)

       13.     The University expressly established as an institutional goal the admission

of underrepresented populations to enhance the educational process. (DX088 at 6; DX003

at 7.) The University defines “underrepresented” to mean “those groups whose

percentage enrollment within the undergraduate student body is lower than their

percentage within the general population in North Carolina,” a framework established in

the 1981 consent decree between the UNC System and the United States Department of

Health, Education, and Welfare. (DX010 at 7.) Under this definition, the University




2
    Citations to deposition transcripts refer to deposition testimony designated by the parties and
    jointly submitted to the Court on November 5, 2020.

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considers as underrepresented those students identifying themselves as African American

or black; American Indian or Alaska Native; or Hispanic, Latino, or Latina. (Id.)

B.     The University’s Commitment to Diversity Is Authentic, Long-Standing, and
       Well-Documented

       14.    As early as 1998, the University’s Faculty Council expressly made clear

that the University has an obligation to “create and sustain an environment of educational

excellence” and “foster mutually beneficial interactions among students, faculty, staff,

and administrators who possess diverse backgrounds and wide varieties of perspectives

and life experiences.” (DX003 at 2.) The University’s 2003 and 2011 Academic Plans—

strategic plans for achieving the University’s academic goals—reflect a commitment to

these principles. (Tr. 521:9-523:4 (Farmer); DX006 at 5-6; DX007.)

       15.    In 2016, the Faculty Council reaffirmed the University’s commitment to the

values of diversity and inclusion by unanimously passing Resolution 2016-12: On

Commitment to Diversity and Inclusion. (DX002; Tr. 523:8-524:13 (Farmer).) In the

resolution, the Faculty Council recognized that student body diversity is a vital and

necessary component of academic excellence, and reaffirmed its belief that the University

can achieve its educational, research, and service missions only by creating and

sustaining a diverse and inclusive environment. (DX002; see also Tr. 524:7-16 (Farmer).)

       16.    The educational benefits of diversity the University seeks to achieve are

also reflected in the 2017 Provost’s Report on the Educational Benefits of Diversity. (Tr.

780:11-23 (Panter); DX003.) These benefits include promoting the robust exchange of

ideas; broadening and refining understanding; fostering innovation and problem-solving;
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preparing engaged and productive citizens and leaders; and enhancing appreciation,

respect, and empathy. (DX003.)

C.     Experts, Faculty, Students, and Alumni Confirm that the Educational
       Benefits of Diversity Are Real, Not Theoretical

       17.    The educational benefits of diversity are well-documented in academic

research. (DX108A at 9-12, 14-21; IX001 at 4-6.)

       18.    The educational benefits of diversity also are routinely experienced and

observed by University faculty, staff, students, and alumni across disciplines and

professions. (See Tr. 780:24-781:11 (Panter); DX131 ¶16; DX116 ¶8; DX118 ¶¶20, 29;

DX140 ¶9; DX144 ¶10; DX146 ¶¶14, 17; DX124 ¶12; DX136 ¶¶15-16; DX139 ¶15.)

       19.    Mr. Farmer credibly testified that some of these benefits include that

“students are able to experience different perspectives that will challenge them to think;

that students will come up with more creative solutions than they would have otherwise;

[and] that students will learn how to navigate in a complex multicultural world so that

they’ll know more and they’ll be able to do more when they [graduate].” (Tr. 521:2-8

(Farmer).) Other record evidence likewise reflects that a diverse student body improves

students’ capacity to work effectively with others: exposure to diversity breaks down

stereotypes, creates common understandings, and encourages empathy. (DX118 ¶¶20, 30;

DX131 ¶19; DX135 ¶12; DX123 ¶19; DX128 ¶13; DX132 ¶33; DX124 ¶24; DX130 ¶28;

DX133 ¶¶19, 22; DX126 ¶16; Tr. 911:6-10 (Ward).)

       20.    Dr. Abigail Panter, the Senior Associate Dean for Undergraduate

Education, testified that she personally observed the educational benefits of diversity in
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her classroom. (Tr. 780:24-781:11 (Panter).) So too have other University professors. For

example, Dr. Joseph DeSimone, the Chancellor’s Eminent Professor of Chemistry,

submitted a declaration averring that diversity—as opposed to homogenous

“groupthink”—provides a “fertile ground for innovation” in his research lab. (DX127

¶¶20-22, 29-30.) Other University professors likewise testified that diversity promotes

discovery and innovation and expands fields of inquiry. (DX145 ¶¶11-12; DX140 ¶9;

DX118 ¶35; DX127 ¶¶18, 24, 27-29.) Professors also averred that diverse classrooms

expand discussions and offer opportunities for learning. (See, e.g., DX121 ¶9 (testifying

that racial diversity results in more robust and fully inclusive conversations in class about

the history of the South); DX118 ¶30 (testifying that students in political science class

discussing police behavior toward minorities learned from diverse classmates who had

been involved with traffic stops, providing “a powerful and impactful learning

moment”).)

       21.    Students, too, want to engage with a broad range of perspectives to improve

their leadership skills and deepen their appreciation for others. (DX005 at 5.) Thus, racial

and ethnic diversity is an important consideration for students when deciding whether to

matriculate at the University. (See Tr. 1260:16-20 (Brennen).)

       22.    Students have observed and experienced the importance of learning from

classmates of different backgrounds and recognize that exposure to these differences is

critical to their future success. (Tr. 680:13-16 (Rosenberg); Tr. 1298:8-1299:2 (Wingate-

Bey); DX148 ¶17; DX133 ¶24; see also DX123 ¶¶4, 13, 20-21; DX150 ¶4.) For example,

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Mary Cooper, a white alumna who served as student body president in 2011, averred that

learning in a diverse student body prepared her to work with, coach, and teach others who

do not look like her or who have not had the same experiences. (DX123 ¶21.) Likewise,

Peter Henry, a black male alumnus from a wealthy Chicago suburb, observed that when

he became study partners with a white male from rural North Carolina he learned a “real

lesson” about the “implicit assumptions” he made about people. (DX131 ¶19.)

       23.    Student-intervenors testified convincingly about the importance of racial

and ethnic diversity to their University educations. (Tr. 1297:12-1298:7 (Wingate-Bey)

(testifying that racial and ethnic diversity enriched her educational experience); Tr.

885:25-886:3 (Polanco) (“[T]he ethnic and racial diversity I experienced at UNC helped

me have more of an understanding of people from different backgrounds that are

different from my own, which makes me better . . . .”).)

       24.    Successful University alumni also confirm that exposure to diversity in

college is necessary to prepare future leaders for their careers. (Tr. 911:23-912:3 (Ward),

Tr. 1269:14-1270:1 (Brennen); Tr. 1305:12-25 (Wingate-Bey); DX131 ¶¶11-12; DX116

¶18; DX129 ¶17; DX117 ¶¶16-18; DX141 ¶¶12-14; DX147 ¶¶12-13; DX149 ¶17.) For

example, student-intervenor Rimel Mwamba, a 2018 graduate of the University, testified

that her experiences as a student will enable her to treat and care for a diverse patient

population in her career as a doctor. (Tr. 1371:24-1372:11 (Mwamba).)




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D.     The University Has Made Deliberate and Sustained Efforts To Pursue the
       Educational Benefits of Diversity

       25.    The University strives to foster a campus environment where the

educational benefits associated with a diverse student body can be realized. (Folt Dep. at

31:5-35:19, 75:11-18, 173:9-22; DX120 ¶42; DX125 ¶12; Deposition of Christopher

Faison (“Faison Dep.”) at 26:6-29:5, 291:6-292:3; DX002 at 1.)

       26.    In the classroom, the University intentionally creates opportunities for

students to learn from their peers and actively encourages participation from all students.

(DX118 ¶¶20-28; DX121 ¶¶6-17; DX133 ¶¶16-22; DX146 ¶19; DX122 ¶26; DX145

¶¶8-10; DX132 ¶¶18-22, 26, 28-29; DX124 ¶¶15-26.) In the College of Arts & Sciences,

all classes that are part of the general education curriculum require student collaboration

as part of the course. (Tr. 792:1-6 (Panter).)

       27.    Outside the classroom, the University likewise takes deliberate steps to

encourage students to interact and engage with other students from a wide variety of

backgrounds. For example, the Carolina Union hosts events featuring internationally

regarded scholars and leaders, providing opportunities for students from all backgrounds

and experiences to come together on campus to build community and lasting connections.

(DX135 ¶¶25-31.) The Carolina Union also sponsors Carolina United, a leadership

program designed to foster dialogue about issues of diversity. (DX135 ¶21.) Participants

talk about issues regarding race, sexuality, gender and religion and report that the

experience makes them more accepting and empathetic and better members of the

community. (Tr. 1296:13-23 (Wingate-Bey).)
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       28.    Additionally, the University’s Student Affairs Division supports 180

student organizations with missions related to advocacy or diversity. (DX125 ¶33.)

       29.    Other University programs and organizations also promote the

advancement and connectivity of diverse students. (DX122 ¶¶27-33; DX124 ¶¶37-30;

DX129 ¶8.) For example, student-intervenor, Star Wingate-Bey, a black student, credibly

testified that the Misconception dance team provided opportunities for her to meet and

interact with those of Asian heritage and learn about their culture. (Tr. 1295:21-1296:10

(Wingate-Bey).)

       30.    The University’s expert, Professor Mitchell Chang of the University of

California, Los Angeles, assessed the University’s programming, including affinity

groups, student housing initiatives, campus discussion forums, academic preparedness

and mentoring programs, discipline-specific initiatives, course offerings, and classroom

assignments. (DX108A at 29-32, 34-41.) Professor Chang determined that the University

has implemented a variety of programs and policies that demonstrate that it

systematically and effectively “engages diversity” to intentionally create the conditions

necessary for the achievement of educational benefits. (DX108A at 5-6, 26, 33-34; see

also IX001 at 38, 44, 47.)

E.     The University Regularly Assesses Its Achievement of the Educational
       Benefits of Diversity

       31.    The University has long assessed the health of its campus, the success of its

students, and the success of its diversity efforts. (Tr. 572:6-9 (Farmer); Tr. 782:7-10

(Panter).) Since at least the late 1990s, the University has continuously conducted
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numerous, ongoing assessments related to student learning and experiences, including the

collection of survey data at different stages of the student experience. (DX108A at 41-43,

49, 53, 58; Tr. 782:13-21, 783:19-784:2 (Panter).) The University also seeks information

about the student experience informally through Office of Diversity and Inclusion

programs and the Faculty Council. (Tr. 788:4-15 (Panter).) Additionally, the University

conducts targeted climate surveys addressing diversity issues, most recently in 2016. (Tr.

787:3-15 (Panter).)

       32.    The University specifically assesses its progress toward achieving the

educational benefits of diversity by, for example: (a) collecting and analyzing

quantitative data tracking the diversity of the campus population (DX120 ¶47);

(b) collecting feedback on diversity issues from students and faculty (DX120 ¶48;

DX125 ¶61; DX003 at 17); (c) completing department-specific self-assessments and

course evaluations that provide information related to diversity topics (DX125 ¶¶62-76;

DX119 ¶¶79-95; DX135 ¶¶45-54; Tr. 782:22-783:3, 783:12-18, 788:16-790:8 (Panter));

and (d) participating in third-party studies and surveys including information about how

diversity impacts the student experience (DX135 ¶¶47-48; DX119 ¶¶87-88, 90-94 & Exs.

3-8). (DX108A at 26-31.)

       33.    Measuring the University’s success at achieving the educational benefits of

diversity is both quantitative and qualitative. (Tr. 867:22-24 (Panter).) Although numbers

are necessary, they are not sufficient to the University’s understanding of dynamic

diversity. A key metric is qualitative: determining that students “are being supported and

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are having positive, meaningful interactions across race.” (Tr. 867:22-869:7 (Panter); see

also Tr. 567:18-568:20 (Farmer); Tr. 108:11-23, 109:23-110:10 (Kretchmar).)

F.     The Educational Benefits of Diversity and Inclusion Working Group
       Enhances the University’s Assessment Efforts

       34.      In December 2017, Provost Robert Blouin established the Educational

Benefits of Diversity and Inclusion Working Group (“EBD Working Group”). (DX120

¶49.) The EBD Working Group reports to the Chancellor and the Diversity and Inclusion

Executive Council. (Tr. 809:14-21 (Panter); DX005 at 7.)

       35.      The EBD Working Group is charged with coordinating and enhancing the

assessment of the University’s ongoing efforts to realize the educational benefits of

diversity. (DX120 ¶49; DX003 at 7; Tr. 572:10-16 (Farmer); Tr. 795:12-796:4 (Panter).)

The EBD Working Group is committed to being a national leader in providing, constantly

assessing, and improving the delivery of the educational benefits of diversity. (Tr. 808:8-

16 (Panter).)

       36.      Members of the EBD Working Group bring to bear different types of

expertise relevant to the group’s charge, including in the areas of educational research

and assessment; the impact and implementation of organizational diversity, equity, and

inclusion; admissions and enrollment management; student advising and support;

strategy; and project management. (Tr. 796:5-797:7 (Panter); DX005 at 3.)

       37.      During its first year of existence, the EBD Working Group reviewed

significant data regarding the University’s delivery of the educational benefits of

diversity and developed a plan for assessing the University’s efforts going forward.
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(DX120 ¶¶51, 53-54; Tr. 573:1-2 (Farmer); Tr. 797:8-802:12 (Panter); DX061.)

Specifically, the EBD Working Group adopted a framework to measure the University’s

efforts, which begins before matriculation and continues through the full range of the

student experience on campus and post-graduation. (DX005 at 5, 82-83.) This will help

the EBD Working Group better assess the educational benefits of diversity over time. (Tr.

800:20-801:13 (Panter); DX005 at 3.)

       38.     The EBD Working Group also formed a subcommittee that assembled a

comprehensive list of existing surveys and took steps to ensure that it is regularly

apprised of all relevant assessments performed on campus. (Tr. 807:4-14 (Panter).) The

EBD Working Group provides regular reporting of its activities to the Chancellor and to

the University Diversity and Inclusion Executive Council. (Tr. 809:14-21 (Panter);

DX005 at 7.)

G.     The University’s Efforts To Achieve the Educational Benefits of Diversity Are
       Significant and Ongoing, but Unfinished

       39.     Dr. Panter testified that the evidence reviewed by the EBD Working Group

to date suggests that University students are receiving educational benefits from

diversity; however, the University still has significant work to do in many different

spaces in order to fully realize its goals. (Tr. 805:18-806:7 (Panter).)

       40.     The University continues to face challenges admitting and enrolling

underrepresented minorities, particularly African American males, Hispanics, and Native

Americans. (Tr. 570:8-11 (Farmer).) For example, in 2013, the enrollment of African


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American men in the first-year class fell below 100 students out of 4,200. (Tr. 519:20-21,

570:15-17 (Farmer).)

       41.    Student-intervenors credibly testified that there were far fewer students of

color on campus than they expected and that they experienced low minority

representation. (Tr. 879:2-7 (Polanco); Tr. 1285:19-25 (Ornelas); Tr. 1299:3-17

(Wingate-Bey); Tr. 1366:4-6 (Mwamba).) This underrepresentation causes minority

students to experience loneliness and tokenism. (Tr. 879:17-880:14 (Polanco); Tr.

1300:13-18 (Wingate-Bey).) Underrepresented minority students also report feelings of

isolation and unfair pressure to represent their race or ethnicity—effects that do not create

the experience the University wants or the students deserve. (Tr. 571:15-572:1 (Farmer);

Tr. 1262:10-1263:5 (Brennen); DX128 ¶¶9-11; DX138 ¶9; DX142 ¶9; DX143 ¶¶14-23;

DX144 ¶¶3-6; IX001 at 65.)

       42.    University professors likewise observe a lack of minorities in certain

classes, fields, or areas of campus; this underrepresentation limits opportunities for

exposure and learning. (DX126 ¶¶18-21; DX145 ¶15.)

       43.    The foregoing challenges hinder both the University’s efforts to provide

students with the educational benefits of diversity and the University’s ability to fully

realize those benefits. (DX108A at 70-73; see also Tr. 1286:1-6 (Ornelas) (“Q: And when

you encountered that lack of representation, how did it affect you? A: I think in some of

those instances I retreated to some old strategies . . . of how I coped being in those



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spaces, found myself maybe participating less and not sharing as much of my opinion or

experiences in those environments.”); Tr. 1364:15-1366:3 (Mwamba).)

III.     THE UNIVERSITY’S USE OF RACE IN ADMISSIONS IS NARROWLY
         TAILORED TO ACHIEVE THE EDUCATIONAL BENEFITS OF
         DIVERSITY

A.       Background on the University’s Admissions Office and Admissions Process

         i.    The University’s Admissions Office is guided by the Admissions Policy
               and overseen by an advisory committee

         44.   The Board of Trustees sets the University’s admissions policy, documented

as The University of North Carolina at Chapel Hill: Admissions Policy (DX008) (the

“Admissions Policy”). (JSF ¶13.) The Admissions Policy states that undergraduate

admissions are the responsibility of the Office of Undergraduate Admissions (the

“Admissions Office”), which makes the University’s admissions decisions. (JSF ¶14.)

         45.   The Admissions Policy also states that the Advisory Committee on

Undergraduate Admissions (the “Advisory Committee”) approves policies and

procedures applied by the Admissions Office. (JSF ¶18; Tr. 816:8-13 (Panter); DX011.)

The Advisory Committee is a faculty committee chartered under the code of faculty

governance. (Tr. 515:11-14 (Farmer).) Members of the Advisory Committee include

faculty across the college and deans of the professional schools that enroll undergraduate

students. (Tr. 814:12-15 (Panter); see also JSF ¶19; DX011.) Ex officio members of the

Advisory Committee include the University Registrar, the Vice Provost for Enrollment

and Undergraduate Admissions, the Associate Dean for Academic Advising, and a leader



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from Student Affairs. (Tr. 814:17-23 (Panter).) The Advisory Committee reports annually

to the Faculty Council. (Tr. 817:3-17 (Panter); DX022.)

       46.    The Advisory Committee is charged with serving in an advisory capacity to

the director of undergraduate admissions, including addressing the design and application

of admissions policy, recommending guidelines for special talent and exceptional

admissions, and monitoring and responding to the national college admissions

environment. (DX011 at 2.) The Advisory Committee also conducts a variety of activities

related to advising the Admissions Office, including discussing recruiting, receiving

updates from the working group studying race-neutral alternative admissions processes,

and reviewing de-identified applications for admission. (DX022; Tr. 818:13-820:18

(Panter).) The Advisory Committee has discussed the importance of—and supports—the

consideration of race as a factor in the University’s admissions process. (Tr. 816:21-

817:1 (Panter).)

       47.    During his tenure as the University’s Vice Provost for Enrollment and

Undergraduate Admissions, Stephen Farmer was responsible for all aspects of the

University’s Admissions Office, including overseeing a staff of approximately 120 full-

time and part-time employees. (JSF ¶¶15, 16.) Mr. Farmer reported to Provost Blouin.

(JSF ¶17.) From 2011 through 2020, in addition to directing the Admissions Office, Mr.

Farmer oversaw the Office of Scholarships and Student Aid and the Office of the

University Registrar and served as a member of the Chancellor’s Cabinet and the

Provost’s Cabinet. (Tr. 512:10-20, 514:6-10 (Farmer).)

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       ii.      The University’s admissions process is highly selective

       48.      The University has received recognition for having top academics and is

perennially ranked among the top five public universities by U.S. News & World Report.

(Tr. 518:25-519:7 (Farmer).)

       49.      The University annually enrolls a first-year class of only approximately

4,200 students. (Tr. 519:20-21 (Farmer).) The admissions process is highly selective: for

the class of 2022, the University received approximately 43,500 applications. (Tr. 519:8-

21 (Farmer).)

       50.      Pursuant to Board of Governors’ Policy 700.1.3, the enrollment of non-

North Carolina residents in each incoming freshman class cannot exceed 18%. (JSF ¶38;

Tr. 519:24-520:2 (Farmer); see also JSF ¶39 (explaining penalties for exceeding this

cap).) The University receives applications from approximately twice as many out-of-

state applicants as in-state applicants each year. (JSF ¶40.)

B.     The University Strives To Enroll a Diverse First-Year Class Through Holistic
       Review

       51.      The University seeks to enroll “great students who will make each other

better, both because of the excellence of their achievement and their potential and

because of their differences one from another.” (Tr. 520:13-16 (Farmer); see also Tr.

679:17-24 (Rosenberg) (testifying that the goal of the application review process is to

admit a smart, caring diverse group of students who will enhance both the academic and

social environment on campus).) “[I]n support of the cultivation of diversity broadly

construed, the University also aims to enroll critical masses of students who identify
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themselves as members of groups the University deems underrepresented.” (DX010 at 7;

Tr. 543:20-24 (Farmer).)

       52.    Dr. Jennifer Kretchmar and Mr. Jared Rosenberg, both long-time members

of the Admissions Office, credibly testified that the Admissions Office staff members

understand the University’s goal of achieving the educational benefits of diversity and

aim to build a class of students who contribute diverse backgrounds and perspectives,

including racial and ethnic diversity. (Tr. 108:11-23, 109:25-110:10 (Kretchmar); Tr.

679:20-680:20, 683:17-684:2 (Rosenberg).) Although admissions officers do not

frequently use the term “critical mass,” they think of critical mass in terms of the

outcomes of the educational benefits of diversity. (Tr. 109:18-110:10 (Kretchmar);

Deposition of Damon Toone (“Toone Dep.”) 70:6-71:24, 74:8-17.)

       53.    To admit a class that fulfills its goals, the University engages in a whole-

person, holistic review, which involves considering applicants comprehensively,

rigorously, sympathetically, individually, one-by-one, on the basis of everything known

about them. (Tr. 528:7-529:14 (Farmer).)

       i.     The University’s application process and requirements

       54.    Applicants for admission to the University’s first-year class must apply by

one of two deadlines. (JSF ¶21.) October 15th is the deadline for non-binding Early

Action, and January 15th is the deadline for non-binding Regular Decision. (JSF ¶¶22,

23.) There is no admission preference for students who apply early; the University’s goal



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is to make the Early Action and Regular Decision admissions processes as similar as

possible. (Tr. 557:20-22, 558:12-21 (Farmer).)

      55.    During the relevant time period, i.e., the 2013-2014 through 2016-2017

admissions cycles, applicants for admission were required to submit the Common

Application, which is an undergraduate college admission application that students may

use to apply to any of more than 800 member colleges. (JSF ¶¶24-25.) All applicants also

were required to submit the Common Application essay; short essays in response to

prompts posed by the University; standardized test scores from either the SAT or the

ACT; a letter of recommendation from at least one teacher who taught the applicant in a

core academic area; a high school transcript; and, for those applicants claiming North

Carolina residency, verification of residency. (JSF ¶¶26-30, 32.) Applicants may also

submit additional materials, including resumes, artwork, music samples, disability-related

documentation, and additional letters of recommendation. (JSF ¶35.)

      56.    Additionally, as part of the application process, a school counselor must

submit a secondary school statement providing information about the applicant’s high

school and the available curriculum. (JSF ¶31.)

      57.    Applicants are also required to submit an application fee. (JSF ¶33.)

However, the University will waive the application fee for applicants who demonstrate

they meet the fee waiver guidelines of the National Association for College Admission

Counseling, ACT, or the College Board, or who serve on active duty in the U.S. Armed

Forces. (JSF ¶34.)

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       58.    The Common Application contains a “Demographics” section that requests,

but does not require, the applicant’s citizenship status, birthplace, and race, and a

“Family” section that requests, but does not require, the applicant’s parents’ country of

birth. (JSF ¶36.) Applicants who identify themselves by race or ethnicity are not limited

to one race or ethnicity, but may choose all with which they identify. (JSF ¶37.)

       59.    The University does not require applicants to submit information about

their race and ethnicity. (Tr. 546:20-22 (Farmer); Sealed Tr. 11:2-6 (Rosenberg).) Mr.

Farmer credibly testified that the University, including Admissions Office application

readers, becomes aware of a student’s race only if the student chooses to disclose their

race during the application process. (Tr. 546:12-19 (Farmer).)

       60.    Regardless, all applicants go through the same evaluation process;

candidates of different racial backgrounds are not reviewed separately or differently (Tr.

696:4-6 (Rosenberg)), and applicants are not penalized for their decision not to disclose

their race. (Tr. 549:12-17 (Farmer).)

       ii.    The University’s application readers

       61.    Every application for admission is reviewed by at least one of 30 to 40

application readers, who collectively form the admissions committee. (JSF ¶41.)

Application readers consist of both full-time staff and seasonal Admissions Office

employees. (JSF ¶42.) They are responsible for evaluating applications and making

recommended admissions decisions. (JSF ¶43.)



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       62.      Jared Rosenberg has served as Associate Director of Admissions since

2015. In this role, he is responsible for the day-to-day management of application review

and the overall philosophical direction of the review, including the training of readers and

the supervision of seasonal application readers. (Tr. 678:7-679:15, 685:2-3 (Rosenberg).)

       63.      Application readers have a diversity of background and experience. The

majority of full-time admissions staff have graduate degrees, all readers have

undergraduate degrees, and many joined the Admissions Office with previous experience

working in post-secondary schools or high schools. (Tr. 681:21-24, 682:5-20

(Rosenberg).)

       64.      Mr. Rosenberg credibly testified that the Admissions Office seeks readers

who understand and believe in the mission of the University and who will approach

application reading empathetically, sympathetically, and with an eye towards

understanding the entire student. (Tr. 683:17-684:2 (Rosenberg).)

       iii.     Application readers participate in thorough and continuous training

       65.      Readers receive extensive, annual training over a period of several weeks at

the beginning of each reading season and continuous training thereafter. (Tr. 559:13-15

(Farmer); Tr. 688:19-22 (Rosenberg).)

       66.      The goals of reader training are to introduce readers to the University’s

individual, comprehensive, and holistic review philosophy and teach them that “when

they read an applicant, they’re reading the entire applicant, not just the test score, not just

the GPA, not just an essay.” (Tr. 690:13-18 (Rosenberg).) Mr. Rosenberg credibly

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testified that the Admissions Office trains readers to “meet our applicants where they are”

and that the context of an applicant’s background is “extremely important to consider”

when making an admissions decision. (Tr. 690:22-25 (Rosenberg).)

       67.      Annual reader training is broken into three phases. (Tr. 685:9-10

(Rosenberg).) First, new readers are introduced to the basics of reading, including going

through an application and learning how to use the reading technology and software. (Tr.

685:11-15 (Rosenberg).) During new reader training, new readers are also shown how to

rate applications. (Tr. 686:3-9 (Rosenberg).)

       68.      Next, all readers—new and experienced—spend several days together as a

group for training and discussion, known as “all-reader training.” (Tr. 685:16-19

(Rosenberg).) During all-reader training, readers discuss applications as a larger group

and also meet in smaller groups to review individual applications together. (Tr. 687:8-17

(Rosenberg).)

       69.      Finally, before the reading season commences, new readers reconvene for

additional training during which they read applications under the guidance of more

experienced readers and present their views on applications for group discussion. (Tr.

685:20-25, 687:18-24 (Rosenberg).)

       70.      The Admissions Office introduces readers to the applicant pool during

training by showing them statistics concerning the previous year’s applicant pool,

admitted pool, and enrolling pool. (Tr. 686:10-17 (Rosenberg).) This provides the readers

with context that enables them to understand the many considerations that go into reading

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an application for admission. (Tr. 686:19-24 (Rosenberg).) Mr. Rosenberg credibly

testified: “Our job is not just as simple as to say yes or no, but it’s really to make sure that

we understand everything about the pool that we have because we read each application

individually, and the only real thing we think about when we read each application

individually is how it may compare to our pool overall.” (Tr. 687:2-7 (Rosenberg).)

       71.    Reader training continues throughout the reading season. During at least the

first two weeks of reading season, a more experienced reader re-reads every application

read by a new reader. (Tr. 689:10-19, 707:16-19 (Rosenberg).) In addition, the

Admissions Office holds weekly all-staff meetings to evaluate applications in a group

setting and give readers the opportunity to ask questions. (Tr. 688:25-689:6 (Rosenberg).)

       72.    Readers also email questions to Mr. Rosenberg; during a typical admissions

cycle Mr. Rosenberg receives hundreds of emails from readers with questions about

applications or the reading process. (Tr. 690:7-10 (Rosenberg).)

       73.    The Admissions Office specifically trains readers on the consideration of

race and ethnicity in the admissions process. Mr. Rosenberg credibly testified that readers

are taught to consider race and ethnicity as one of many diversity factors, within the

context of the entire application. (Tr. 688:7-18 (Rosenberg).)

       iv.    Readers review each application for admission holistically, considering
              race and ethnicity as only one factor among many

       74.    The Reading Document (DX010) provides application readers guidance for

the review of applications for admission. (JSF ¶45.) It is provided to all application


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readers at the outset of the reading season. (Tr. 63:18-64:1 (Kretchmar); Tr. 539:2-13

(Farmer).)

        75.     The Reading Document provides that readers should seek to understand

each candidate individually and holistically, based on everything their application reveals

about them. (DX010 at 6.) Mr. Farmer and Mr. Rosenberg credibly testified that this is

the guiding principle of application evaluation. (Tr. 540:14-24 (Farmer);Tr. 691:21-23

(Rosenberg).)

        76.     At least one reader reviews every application for admission in its entirety

and assesses the applicant using more than 40 criteria, grouped into the areas of academic

performance, academic program, standardized testing, extracurricular activity, special

talent, essay, background, and personal qualities. (DX010; Tr. 541:4-21 (Farmer); JSF

¶46.)

        77.     Readers assign ratings for five criteria categories: academic program,

academic performance, extracurricular activity, essay, and personal qualities. (JSF ¶47.)

The ratings are used by readers to help distinguish particular characteristics of an

application, providing readers with a shorthand way to understand the relative strengths

and weaknesses of an application. (Tr. 686:4-5, 697:11-14 (Rosenberg).)

        78.     Students are not admitted or denied on the basis of these ratings. (Tr. 75:16-

17 (Kretchmar); Tr. 697:9 (Rosenberg).) Readers do not sum up, tally, or total the ratings

in any way to yield an automatic admission decision. (JSF ¶51; Tr. 697:18-19

(Rosenberg).)

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       79.    The academic program rating reflects an assessment of the rigor of an

applicant’s course of study, and is objectively assigned based on the number of college-

level or advanced courses that an applicant has taken during high school. (Tr. 72:16-23;

Tr. 73:3-14 (Kretchmar); Sealed Tr. 23:19-24:9 (Rosenberg).) When considering an

applicant’s academic program rating, readers may also take into account the number and

types of college-level courses offered by the student’s school, as well as any limitations

on the student’s ability to enroll in such courses. (Sealed Tr. 23:16-18, 24:13-23, 24:24-

25:3 (Rosenberg).)

       80.    The academic performance rating reflects an assessment of the academic

performance of an applicant through the evaluation of grades on the student’s high school

transcript. (Tr. 73:15-17 (Kretchmar); Sealed Tr. 25:13-26:4 (Rosenberg).)

       81.    The extracurricular activity rating reflects an assessment of an applicant’s

activities outside the classroom, including clubs, work, family responsibilities, and school

activities. (Tr. 74:3-17 (Kretchmar).) Readers do not weigh the substance of the

applicant’s chosen activities; rather, readers focus on the student’s passion and level of

commitment. (Sealed Tr. 15:4-10 (Rosenberg).)

       82.    The essay rating reflects an assessment of the applicant’s writing ability,

including grammar, spelling, punctuation, complex sentence structure, and organization

and complexity of thought, as demonstrated in the submitted essays. (Sealed Tr. 17:14-

18:7 (Rosenberg).)



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       83.    The personal quality rating reflects an assessment of the student’s character

and incorporates some of the intangible factors readers might observe in an application.

(Sealed Tr. 28:15-18 (Rosenberg).) When assigning the personal quality rating, readers

may consider, for example, the applicant’s ability to overcome adversity, intellectual

curiosity or accomplishment, or talent in a particular activity. (Sealed Tr. 28:18-21

(Rosenberg).) The personal quality rating may also include contributions to diversity.

(Sealed Tr. 28:21-22 (Rosenberg).)

       84.    Standardized test scores, such as the SAT and ACT, are considered within

the context of the entire application. (Tr. 693:21-694:2 (Rosenberg).) During 2013-2017,

students could submit either an SAT score, an ACT score, or both. If the student

submitted an ACT score, the reader would concord the ACT score to its SAT equivalent

using a table provided by the College Board. (Tr. 694:18-695:11 (Rosenberg).)

       85.    Dr. Kretchmar, Mr. Rosenberg, and Mr. Farmer all credibly testified that at

any stage of the review process, readers may consider an applicant’s race, ethnicity, or

national origin, if disclosed, but only in the context of everything else known about the

applicant. (Tr. 68:2-7 (Kretchmar); Tr. 543:7-13, 545:11-546:4 (Farmer); Tr. 695:12-25,

Tr. 697:20-698:4 (Rosenberg); see also DX010.) The Admissions Office does not assign

automatic points for race in the reading process. (Tr. 696:1-3 (Rosenberg).)

       86.    In assessing an applicant’s contributions to diversity, readers may also

consider the socioeconomic status of each candidate for admission. (Tr. 552:15-23

(Farmer).) The University’s consideration of socioeconomic status is flexible and informs

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the University’s interpretation of the candidate’s standardized test scores and other

academic indicators. (Tr. 552:23-553:7 (Farmer).)

       87.      Readers may become aware of an applicant’s socioeconomic status if the

student qualifies for a waiver of the application fee or for free or reduced-price lunch;

through the parents’ employment status or level of education; or by what the student

writes about him- or herself. (Tr. 553:25-554:13 (Farmer).) The University does not

consider an applicant’s ability to pay all or part of the cost of their education when

making admissions decisions. (JSF ¶76; see also infra ¶153.)

       88.      After reviewing the application in its entirety and assigning the five ratings,

the reader makes a tentative admissions decision. (JSF ¶48; Tr. 696:9-13 (Rosenberg).)

The reader makes this determination by considering the ratings in the five categories and

all other information contained in the application, including the applicant’s strengths and

weaknesses in the context of the University’s applicant pool. (JSF ¶49.)

       89.      There are no minimum rating thresholds or formulas for admission. (JSF

¶50; Tr. 697:15-17 (Rosenberg).) Mr. Farmer credibly testified that the Admissions

Office never discusses formulas and does not consider students formulaically. (Tr. 551:7-

24 (Farmer).)

       90.      From 2013 to 2017, for the Early Action deadline, a reader could choose to

admit, defer, or deny an applicant. For the Regular Decision deadline, a reader could

choose to admit, waitlist, or deny an applicant. (Tr. 697:3-6 (Rosenberg).)



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       91.    If an application does not receive a second read, the admissions decision

becomes provisionally final after the first read. (JSF ¶52.)

       v.     Second reads are part of the holistic review process

       92.    From 2013 to 2017, approximately 40% of applications were read twice.

(Tr. 700:5-8 (Rosenberg).) Second reads are conducted by more experienced, senior

members of the Admissions Office (sometimes referred to as Tier 2 readers). (JSF ¶53;

Tr. 699:5-9 (Rosenberg).)

       93.    Second reads may occur under several different circumstances. When a first

reader decides to admit or defer an out-of-state candidate, the application will be read by

a Tier 2 reader. (Tr. 698:20-22 (Rosenberg).) Tier 2 readers also give second reads to all

applications read by new readers, who are still learning the reading process. (Tr. 534:23-

535:8 (Farmer); Tr. 689:10-19 (Rosenberg).) Finally, first readers may request that an

application receive a second read. (Tr. 699:2-4 (Rosenberg).)

       94.    Tier 2 readers read each application that advances to a second read in its

entirety, and make independent assessments of candidates using the same criteria as first

readers. (JSF ¶¶54-55; Tr. 699:12-24 (Rosenberg).) After reading the entire application,

the Tier 2 reader inputs his or her own admissions decision for the candidate. (JSF ¶56;

Tr. 699:22-24 (Rosenberg).)

       95.    Recommended admissions decisions made by Tier 2 readers become the

provisionally final decisions.(JSF ¶57; Tr. 699:25-700:4 (Rosenberg).)



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       vi.    School Group Review assures that admissions decisions are reasonable
              and comply with University policy

       96.    At the end of the reading period for each application deadline, every

provisional admissions decision goes through a process known as Decision Review or

School Group Review (“SGR”). (JSF ¶59; Tr. 535:20-536:5 (Farmer).) SGR takes place

over the three-week period prior to the release of admissions decisions to applicants and

is conducted by a committee comprised of experienced members of the Admissions

Office. (JSF ¶¶60-61.)

       97.    SGR facilitates a review of readers’ provisional admissions decisions to

assure conformity with the University’s standards and to assure that decisions are

justified in context. (JSF ¶64; DX012 at 1; Tr. 536:14-537:12 (Farmer).)

       98.    The SGR policy applicable from October 1, 2015, through the 2016-2017

application cycle (the “SGR Policy”) (DX012) provides that every provisional admission

decision is reviewed within the context of the applicant’s high school during SGR. (JSF

¶¶62-63.) Pursuant to this policy, reports are generated for each high school from which

an applicant applied for admission to the University. The reports display the application

deadline, provisional admission decision, class rank, GPA, test scores, subjective

admissions ratings, residency status, legacy status, recruited student athlete status, and

applicable recruiting category of each applicant from that particular high school. (JSF

¶67; see also DX012 at 1; Tr. 536:2-5 (Farmer).)

       99.    Each SGR committee member is assigned a group of high schools to

review. (JSF ¶66.) Committee members may revisit an application if it appears that a
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provisional decision could be wrong; for example, if the top-ranked applicant from a high

school was denied admission while lower-ranked applicants were admitted, the

committee member may review the denial to ensure it was justified. (See Tr. 537:1-12

(Farmer).) Because SGR is an extension of comprehensive and holistic review,

committee members who revisit an application during SGR reread it in its entirety,

holistically. (Tr. 536:8-12 (Farmer).)

       100.   Pursuant to the SGR policy, decisions during SGR are informed, in part,

upon the predicted number of spaces in the entering class that students who have been

provisionally selected for admission are likely to fill. (JSF ¶68.) The Admissions Office

runs a yield assessment projection to predict the number of students who will accept the

University’s offers of admission. (JSF ¶69; Tr. 84:14-16 (Kretchmar).) SGR allows the

Admissions Office to consider this expected enrollment, and, if necessary, make

adjustments to avoid over- or under-enrollment. (JSF ¶65, Tr. 537:13-538:4 (Farmer).)

       101.   Mr. Farmer credibly testified that the Admissions Office does not use the

SGR process to shape class composition toward a particular goal, other than admitting the

correct proportion of North Carolina versus out-of-state residents. (Tr. 538:5-9 (Farmer);

see also Tr. 109:25-110:10 (Kretchmar) (credibly testifying that the Admissions Office

does not aim to enroll a specific number or quota of underrepresented minority students).)

       102.   Likewise, analysis of the racial composition of the class of students selected

for admission before and after SGR showed no significant changes in the percentage of

the class belonging to any racial or ethnic group, demonstrating that race and ethnicity

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does not play any role in the SGR process. (Tr. 978:5-980:15 (Hoxby).) To illustrate, in

the 2013-2014 admissions cycle—the year immediately after fewer than 100 African

American males enrolled in the first-year class (see supra ¶40)—10.1% of students

admitted before SGR were African American and 10.1% of students admitted after SGR

were African American; the SGR process resulted in no change to the percentage of

African American students admitted. (Tr. 978:23-979:3 (Hoxby).)

       103.   Upon completion of the SGR process, the yield assessment projections are

updated; it may be necessary to adjust the number of applicants who will receive an offer

of admission to avoid over- or under-enrollment. (JSF ¶70.)

       104.   The Admissions Office never uses racial or ethnic data to make adjustments

to the admitted class. (Tr. 548:10-25 (Farmer).)

       105.   Quality control measures, including second reads and SGR, provide

assurance that readers adhere to holistic review practices. Mr. Rosenberg personally reads

behind every reader multiple times throughout the application cycle. (Tr. 703:14-20

(Rosenberg).) Likewise, during SGR, Mr. Rosenberg opens hundreds of applications,

reviews reader comments, and understands the thought process behind the admissions

decisions. (Tr. 703:21-23 (Rosenberg).) Mr. Rosenberg credibly testified that readers

comply with University policies and training, including properly considering race and

ethnicity while reading applications. (Tr. 703:11-704:3 (Rosenberg); see also Tr. 560:2-

14 (Farmer) (expressing confidence in evaluation process based on reading behind first

readers and school group review).)

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       106.   Shortly after the conclusion of SGR, admissions decisions are released to

each applicant. (JSF ¶71.) The University allows admissions decisions to be appealed to

an admissions officer and, ultimately, to the Provost. (Tr. 538:18-21 (Farmer).)

Candidates admitted to the University have until May 1 to accept their place in the

incoming class and to submit their enrollment deposit or their request for a waiver of

their deposit. (JSF ¶72.)

       107.   A small subset of applicants who do not receive offers of admission may be

offered a place on the Waiting List. (JSF ¶73.) A candidate offered a place on the Waiting

List must affirmatively accept that offer in order to receive consideration for any spaces

that may become available in the entering class. (JSF ¶74.) Final admissions decisions for

all candidates who accept a spot on the Waiting List are made by June 30th. (JSF ¶75.)

       vii.   Readers do not receive demographic information for the admitted or
              enrolling class until after admissions decisions become final

       108.   Readers may learn of the racial and ethnic makeup of the first-year class

during the summer, after reading is completed, the Waiting List is disbanded, and the

class is fully enrolled. (Tr. 702:23-703:1 (Rosenberg).) If a reader becomes aware of the

racial or ethnic composition of the provisionally admitted class prior to that time, the

reader must recuse him- or herself from reading from that point forward during the

admissions cycle. (Tr. 547:23-548:9 (Farmer).)

       109.   Mr. Farmer credibly testified that since 2015, readers do not receive any

information regarding the racial or ethnic composition of the class that has been

provisionally identified for admission. (Tr. 546:23-547:10 (Farmer).) Similarly, Mr.
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Rosenberg credibly testified that readers are not provided with reports showing the

breakdown of demographics of the provisionally admitted class to ensure fairness and

consistency in the review process. (Tr. 702:6-22 (Rosenberg).)

        110.   To the extent demographic information regarding applicants was circulated

from 2013 to 2017, only senior Admissions Office leadership had access to it. (DX065;

Tr. 700:15-17 (Rosenberg).) Seasonal readers and Admissions Office staff did not have

access to any reports showing the racial and ethnic breakdown of the provisionally

admitted class. (Tr. 700:25-702:8 (Rosenberg).)

IV.     EXPERT TESTIMONY REINFORCES THAT RACE AND ETHNICITY IS
        NOT THE DOMINANT FACTOR IN THE UNIVERSITY’S ADMISSIONS
        PROCESS

A.      Empirical Analysis Confirms that the University’s Admissions Decisions Are
        Holistic

        111.   The University presented expert testimony about its admissions process,

including in response to SFFA’s allegation that race and ethnicity were dominant factors

in that process, from Professor Caroline Hoxby. (Tr. 936:7-14 (Hoxby).) Professor

Hoxby is the Scott and Donya Bommer Professor in Economics at Stanford University,

has a master’s degree in economics from the University of Oxford, holds a Ph.D. in

economics from the Massachusetts Institute of Technology, has published extensively on

the economics of education, and has won numerous awards and prizes for her economics

research. Professor Hoxby is the head of the Economics of Education Program of the

National Bureau of Economic Research and a presidential appointee to the National


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Board for Education Sciences. (Tr. 929:3-936:4 (Hoxby).) Professor Hoxby testified

credibly.

       112.   Through careful empirical analysis, Professor Hoxby established that the

University’s admissions decisions are consistent with a holistic admissions process and

could not be explained by a formula based on verifiable variables. (Tr. 937:3-7 (Hoxby).)

Thus, Professor Hoxby concluded the University’s admissions process does not appear

formulaic. (Tr. 937:11-12 (Hoxby).) Professor Arcidiacono, agreed that the University’s

admissions process is holistic. (Tr. 318:1-5 (Arcidiacono); see also Tr. 421:8-10

(Kahlenberg).)

       113.   Professor Hoxby conducted her analysis of the University’s admissions

process using regression analysis—a standard econometric technique used to understand

actual human decision-making. She built a series of regression models incorporating the

quantitative variables reflected within the application process and progressively added

more variables into the models to test to what extent these variables could explain the

admissions outcome: was the applicant admitted or rejected. (Tr. 938:22-942:3 (Hoxby).)

       114.   In the first instance, Professor Hoxby included only objective, verifiable

(“endogenous”) variables within her multiple regression models. (Tr. 942:8-12, 943:16-

944:3 (Hoxby).) Professor Hoxby’s preferred and most comprehensive regression model

(model 9) included standardized test scores and sub-scores, race and ethnicity factors,

class rank, high school GPA, within high school GPA rank, gender, North Carolina

residency status, whether the applicant satisfied the University’s minimum coursework

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requirements, whether the applicant was a child of a faculty or staff member, legacy

status, whether the applicant applied through Early Action or Regular Decision, parental

education level, foreign citizenship status, and whether the applicant received a fee

waiver. (Tr. 939:9-940:23, 946:22-24 (Hoxby).) Hoxby’s preferred model 9 is not

“overfit.” (Tr. 975:17-24 (Hoxby).)3

       115.    Using her preferred model 9, Professor Hoxby calculated a “pseudo R-

squared” of 0.428 (a value out of a maximum of 1.0), meaning in approximate terms that

the model can predict the decision to accept or reject an applicant less than half of the

time.4 (Tr. 946:22-947:22 (Hoxby).)

       116.    Professor Hoxby emphasized that the portion of the admissions decisions

that is not correctly predicted by the model is important:

       [T]he reason I say it’s important is that it is not that the admissions decision
       is somehow absent in that part. It isn’t absent. This isn’t something that isn’t
       happening. It’s something that’s happening, but we, as statisticians,
       econometricians, do not know what is happening in that part. It’s that the
       admissions officer is looking at the whole application, looking over that --
       all of the material that’s there -- the essays, the letters, the personal statement,
       the context for the student -- and that is what is going into that 57.2 percent.



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    A model is “overfit” (and therefore cannot be used to predict an outcome accurately) if it
    does not predict as well on an out-of-sample dataset as it predicts on an in-sample dataset.
    (Tr. 971:21-972:6 (Hoxby).) Certain of Professor Arcidiacono’s models are overfit, including
    his preferred model. (Tr. 975:25-976:3 (Hoxby); Tr. 316:1-3 (Arcidiacono) (conceding that
    his model 7 is overfit).)
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    Professor Arcidiacono agreed that pseudo R-squared is a measure of fit for the model: a
    higher number means the model fits the data better. He testified, however, that pseudo R-
    squared could not be interpreted with the precision of its counterpart for linear models (“R-
    squared”). (Tr. 191:14-21 (Arcidiacono).)

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       So it may be not observable by the statistician, but that doesn’t mean it wasn’t
       observed or considered carefully by the admissions officer.

(Tr. 947:15-948:10 (Hoxby).)

       117.   Professor Arcidiacono’s preferred model has a higher pseudo R-squared

than Professor Hoxby’s, meaning that the model can predict a greater number of the

admissions decisions correctly. But Professor Arcidiacono admitted that a model that

predicts an outcome better does not indicate that such a model is accurately measuring

the contribution (or coefficient) of a particular relevant factor such as race and ethnicity

on the outcome of the admissions decision. (Tr. 314:22-315:1 (Arcidiacono); see also Tr.

956:2-23 (Hoxby).) Thus, calculating a higher pseudo R-squared does not indicate that a

particular model is better explaining the role of a specific factor in the admissions

decision. Indeed, Professor Arcidiacono admitted that a model could be “very accurate”

in predicting the likelihood of an applicant being admitted, but “wouldn’t measure the

coefficient of . . . race . . . very well.” (Tr. 315:2-23 (Arcidiacono).) Instead, as Professor

Hoxby explained, the proper way to assess the impact of a particular factor in the

admissions process is to use an econometric technique known as a Shapley

decomposition. (Infra ¶119.)




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B.     Race and Ethnicity Is Not the Dominant Factor in the University’s
       Admissions Process

       i.     The proper econometric technique for assessing the role of a specific
              factor in the admissions decision demonstrates that race and ethnicity
              explains a very small share regardless of which regression model is
              used for the analysis

       118.   Professor Hoxby explained that, if race and ethnicity was the dominant

factor in the University’s admissions process, then statistical analysis would reveal that a

large share of a model’s predictive power (i.e., the model’s ability to correctly predict

whether an applicant is admitted or rejected) is attributable to race and ethnicity. (Tr.

939:4-8 (Hoxby).) But empirical evidence demonstrates the opposite: when admissions

decisions across the entire applicant pool are considered, both Professor Hoxby and

Professor Arcidiacono agree that race is not the dominant factor. (Tr. 980:16-24 (Hoxby);

Tr. 331:20-23 (Arcidiacono) (“Q: So you will agree with me that across the whole

process of admissions, considering all races, race is not the dominant factor? A: Yes.”).)

       119.   The Shapley decomposition is the proper econometric method to answer the

relevant question of what role a specific factor, or variable, plays in the outcome of

whether an applicant is admitted or rejected across the University’s admissions process.

(Tr. 948:16-21, 949:2-23 (Hoxby).) The Shapley decomposition is designed to hold all

other variables constant and then introduce and remove a specific factor to calculate the

“share” that factor contributes to the model’s ability to predict the admissions decision.

(Tr. 950:1-16 (Hoxby).) The Shapley decomposition is also designed to show the

marginal effect of any factor reliably; thus, even if the factor was important for only a

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subset of applicants rather than all applicants, the Shapley decomposition would show

that effect. (Tr. 949:15-23, 950:17-19 (Hoxby).)

       120.   Professor Hoxby employed the Shapley decomposition and, using her

preferred model 9, concluded that race and ethnicity explains only a very small share of

the total admissions decision—a mere 1.2%. (Tr. 951:1-17 (Hoxby).)

       121.   Standardized test scores (e.g., ACT and SAT scores) explain approximately

10% of the admissions decision using Professor Hoxby’s preferred model 9. Thus, in

comparison to race and ethnicity, test scores are a more important factor but still do not

explain most of the admissions decision. (Tr. 952:1-9 (Hoxby).)

       122.   The conclusion that race and ethnicity is not the dominant factor in the

University’s admissions process holds true even when analyzing the in-state and out-of-

state applicant pools separately. For in-state applicants, the Shapley decomposition shows

that race and ethnicity explains only approximately 1.2% of the admissions decision,

while test scores explain approximately 15%. For out-of-state applicants, the Shapley

decomposition shows that race and ethnicity explains only approximately 5.1% of the

admissions decision, whereas test scores explain approximately 19%. (Tr. 953:3-18

(Hoxby).)

       123.   Likewise, race and ethnicity is not the dominant factor in the University’s

admissions process even when the Admissions Office ratings variables (supra ¶77) are

incorporated into the separate in-state and out-of-state models. Including all ratings

variables, race and ethnicity explains only 1.6% of the admissions decision for in-state

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applicants, and 6.2% of the admissions decision for out-of-state applicants. (Tr. 953:19-

954:8 (Hoxby).)

       124.   Performing the Shapley decomposition on Professor Arcidiacono’s

preferred model confirms that race and ethnicity is not the dominant factor in admissions

decisions: race and ethnicity explains 2.7% of the admissions decision for in-state

applicants, and 6.7% for out-of-state applicants. (Tr. 955:4-19 (Hoxby).) Thus, no matter

which preferred model is used—Hoxby’s or Arcidiacono’s—race and ethnicity is not the

dominant factor in whether an applicant is admitted or rejected across the University’s

admissions process. (Tr. 957:1-22, 980:16-24 (Hoxby); see also Tr. 323:21-24

(Arcidiacono) (admitting that other factors dominate the admissions process aside from

race and ethnicity).)

       125.   Professor Hoxby testified credibly that, if race and ethnicity was the

dominant factor in the University’s admissions process, her empirical review of the

admissions data would have revealed that fact. (Tr. 1181:12-1182:1 (Hoxby).)

       ii.    The testimony and evidence offered by Professor Arcidiacono do not
              credibly challenge Professor Hoxby’s conclusion that race and
              ethnicity are not the dominant factor in the University’s admissions
              process

       126.   Professor Arcidiacono performed numerous econometric and statistical

analyses in response to the assignment he was given: to determine whether race is a

predominant factor in the University’s admissions process. (Tr. 328:3-8 (Arcidiacono).)

These analyses did not credibly support his conclusion that race and ethnicity is dominant

in the admissions process.
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       127.   Professor Arcidiacono’s testimony and conclusion that race and ethnicity is

a dominant factor was not persuasive because he admittedly considered the role of race

from the wrong perspective, actively ignoring its role across the entire admissions

process. (Tr. 251:8-10 (Arcidiacono) (“[Hoxby’s] thinking about how race affects the

entire admissions process, and I don’t think that’s the right way of looking at it.”).)

Professor Arcidiacono also conceded that race is not a dominant factor for white

applicants. (Tr. 331:6-7 (Arcidiacono).)

       128.   Professor Arcidiacono, unlike Professor Hoxby, failed to consider whether

SAT scores and grades were a more important factor in the University’s admissions

process than race. (Tr. 325:3-6 (Arcidiacono).) Professor Arcidiacono’s testimony that

“[t]here’s not an actual way to measure” whether high SAT scores have greater

correlation with the admissions outcome than race or ethnicity was not credible. (Tr.

324:7-325:2 (Arcidiacono).)

              (a)    Professor Arcidiacono’s choice to create a model to convert ACT
                     scores to SAT scores was inappropriate and imposed a penalty
                     on underrepresented minority applicants

       129.   Professor Arcidiacono attempted to develop a model that approximates the

process University admissions officers follow, including capturing the data inputs that

admissions officers see in the applicant file. (Tr. 339:10-19, 340:17-19 (Arcidiacono).)

       130.   For those applicants who submitted only ACT scores, the Admissions

Office uses the College Board’s concordance table to translate the score into a

corresponding SAT score. (Tr. 342:2-18 (Arcidiacono); Tr. 694:18-695:11 (Rosenberg).)

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Thus, for applicants who took the ACT and received the same score, the University

would credit the same converted SAT score to each applicant, regardless of the

applicant’s race. (Tr. 343:7-344:4 (Arcidiacono); see also Tr. 694:18-695:6 (Rosenberg).)

       131.   Rather than follow the University’s practice, however, Professor

Arcidiacono chose to convert an applicant’s ACT score to an SAT score in a different

way. (Tr. 342:18-20. (Arcidiacono).) Under Professor Arcidiacono’s preferred model,

underrepresented minority applicants and women received a lower converted SAT score

than white or Asian applicants or men who received the exact same ACT score. (Tr.

357:23-360:5, 363:16-23; see also Tr. 359:1-7 (Arcidiacono) (“Q. Now, obviously—to

put the two together and figure out the net change, will you agree with me that if you take

from the first chart of the deduction for SAT verbal where blacks received a penalty of

minus 8.1 and then if we look to the bottom slide where the SAT math penalty is minus

13.5, that totals about 22 points, correct? A. Correct”).) Because this conversion choice is

part of Professor Arcidiacono’s preferred model, it is also incorporated into his

subsequent analyses that rely upon his preferred model. (Tr. 364:21-24 (Arcidiacono);

see also infra ¶¶133-136.)

       132.   Professor Arcidiacono steadfastly maintained that using a lower converted

SAT score for underrepresented minorities and women who received the exact same ACT

score as a white, Asian, or male applicant was “not a penalty”—even though his approach

resulted in a black woman receiving 45 fewer points than a white male. (Tr. 360:22-361:3

(Arcidiacono).) This testimony is not credible.

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              (b)    Professor Arcidiacono’s “transformation” examples are
                     hypothetical and unrealistic

       133.   To assess the role of race and ethnicity within the admissions process,

Professor Arcidiacono “turns off” an applicant’s race within his preferred model, but

assumes that everything else about the applicant remains unchanged. (Tr. 364:1-8,

365:12-15 (Arcidiacono).) These so-called “transformation” examples are entirely

hypothetical. (Tr. 364:9-17 (Arcidiacono).)

       134.   Professor Arcidiacono’s analysis and interpretation of the average marginal

effect of racial preferences based on his transformation examples is not credible because

he unrealistically assumes that an applicant’s race and ethnicity can be turned on or off

without any other factors in the applicant’s file (or life) changing. (See Tr. 965:2-24

(Hoxby).) Professor Hoxby persuasively testified that this is “not just a sensible statistical

thing to do.” (Tr. 965:17-24 (Hoxby).)

       135.   Even in the world of statistical analysis, average marginal effect cannot be

interpreted to show the impact of an applicant’s race or ethnicity on his or her chance of

admission to the University because it is not possible to hold all other factors constant.

(Tr. 964:8-16 (Hoxby); see also Tr. 964:8-15 (Hoxby) (“When we look at UNC

admissions data, it is not a randomized control trial. The data are not generated by . . . a

true experiment or any type of experiment. They’re generated by real behavior of real

people and many students to UNC.”); Tr. 1198:2-5 (Long) (“You know, we

unfortunately, or fortunately, don’t have the circumstance if we were in a laboratory—a


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science laboratory where we could change one thing and hold everything else

constant.”).)

       136.     Although Professor Arcidiacono characterized his work as bringing

“nuance to the affirmative action debate” (Tr. 119:20-23 (Arcidiacono)), his

transformation examples are mathematical exercises divorced from reality that render any

related analyses as to the role of race and ethnicity within the University’s admissions

process unpersuasive.

                (c)   Professor Arcidiacono presented his conclusions in misleading
                      ways that make his testimony less credible

       137.     Professor Arcidiacono presented evidence purporting to show that the

“share” of an admission decision due to an out-of-state applicant being African American

applicant was 91.1%. (Tr. 1178:14-16 (Hoxby).) But Professor Arcidiacono’s “share” or

marginal effect analysis is not statistically valid because his “shares” do not add up to one

hundred percent. (Tr. 966:1-967:21 (Hoxby) (explaining that Professor Arcidiacono’s

“shares” of an admissions outcome add up to 543.4% for out-of-state African American

applicants and 557.4% for Hispanic applicants).)

       138.     Professor Hoxby credibly testified that Professor’s Arcidiacono’s

methodology was improper. (Tr. 1176:23-1177:1 (Hoxby) (“That’s why we don’t do

things this way. It ends up with improper statistics, like saying that these shares could add

up to 432 percent of the total explanation. That’s why we use things like a Shapley

decomposition.”); Tr. 1179:13-17 (Hoxby) (“Given the novel and unusual definition of

share here, I would say the numbers you are reading from the table are correct, but that
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these so-called shares do not represent average marginal effects, which is why they add

up to more than a hundred percent.”); see also Tr. 967:8-12 (Hoxby) (testifying that the

Shapley decomposition is the proper way to show the “share” or marginal effect of any

type of factor or group of factors).)

       139.   Additionally, Professor Arcidiacono’s use of average marginal effect to

interpret his transformation examples generates misleading results. (Tr. 968:1-7

(Hoxby).) Specifically, Professor Arcidiacono’s average marginal effect of race is 12.7%

for in-state African American applicants, but the median marginal effect of race for in-

state African American applicants is only 1.2%; this demonstrates that the average must

be highly influenced by outliers. (Tr. 968:1-969:13 (Hoxby).) So too for Hispanic

applicants. (Tr. 969:4-22 (Hoxby).) Professor Hoxby convincingly explained that by

choosing to rely on the average marginal effect in this way, Professor Arcidiacono

inappropriately ignored that his model explains only a portion of the admissions decision

and does not capture all factors that are considered during the University’s actual holistic

review process. (Tr. 969:23-970:25 (Hoxby).)

              (d)    The purported “accuracy” of Professor Arcidiacono’s preferred
                     model confirms that an applicant’s race and ethnicity is not the
                     dominant factor in admissions decisions

       140.   Professor Hoxby testified that Professor Arcidiacono uses a novel and

nonstandard measure of “accuracy” in support of the impact of the alleged “racial

preferences” he finds. (Tr. 976:23-977:9, 1143:25-1144:3, 1170:10-1171:4 (Hoxby).)

However, accepting this definition of “accuracy,” removing race and ethnicity variables

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from Professor Arcidiacono’s preferred model, and recalculating the alleged accuracy

reveals a reduction in accuracy of only 1% for in-state applicants and less than 2% for

out-of-state applicants. (Tr. 977:3-17 (Hoxby).) Thus, other variables besides race and

ethnicity generate the purported accuracy of Professor Arcidiacono’s preferred model.

(Tr. 977:18-978:3 (Hoxby).)

              (e)    Decile analysis based on Arcidiacono’s self-devised academic
                     index is not based on the University’s admissions process, over-
                     weights test scores and grades, and ignores the impact of
                     unobservable factors

       141.   Professor Arcidiacono admitted that his decile analysis by itself is

insufficient to show that the difference of admission rate is the result of any purported

racial preference. (Tr. 317:8-11 (Arcidiacono).)

       142.   Professor’s Arcidiacono’s decile analysis is based upon an academic index

that he devised (“the Arcidiacono Index”), which is a weighted average of only test

scores and grades. (Tr. 316:4-10 (Arcidiacono); Tr. 958:20-21 (Hoxby).)

       143.   The University does not calculate or use an academic index in its

admissions process. (Tr. 958:11-19 (Hoxby); Tr. 316:22-24 (Arcidiacono).) Professor

Arcidiacono admitted that he imported this concept from his work in SFFA’s litigation

against Harvard, which actually calculates an academic index. (Tr. 316:11-19

(Arcidiacono).)

       144.   Most of the University’s admitted students fall into the top Arcidiacono

Index deciles, but Professor Arcidiacono’s decile analysis—and the transformation

examples based on this decile analysis—focus on the portion of the admissions pool that
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is on the bubble between admissions and rejections where even small differences in an

applicant’s qualifications or characteristics can make a difference. (Tr. 1150:25-1151:14

(Hoxby); see also Tr. 1151:14-1152:1 (Hoxby) (“[T]o focus on it unduly is to

overemphasize the importance of those marginal decisions and the marginal

characteristics that might make a difference. If one was using race and ethnicity, say,

minimally overall in the admissions process, then you are most likely to find that it would

affect a student’s admission decision for a student who was right on the bubble. It’s not

wrong . . . to look at those students, but one should not describe them as representative of

the admissions process because they actually play a fairly minor role in the admissions

process.”).)

       145.    Professor Arcidiacono’s exclusive reliance on test scores and grades (in

both the Arcidiacono Index and his decile analysis) means that he “tends to not consider

that there are many factors that may be observable to the admissions officers but are not

observable to . . . the statisticians.” (Tr. 961:8-10 (Hoxby).) Consequently, Professor

Arcidiacono’s decile analysis “essentially push[es] those unobservable factors to the side

and pretend[s] that they don’t exist,” even though they do. (Tr. 961:21-25 (Hoxby).)

       146.    Simply because race and ethnicity might tip the scale for some students

who are “on the bubble” of being admitted or rejected does not mean that race and

ethnicity plays a dominant role in the admissions decision and across the entire pool of

applicants. (Tr. 960:20-961:2 (Hoxby).) To the contrary, a student who is admitted with

lower test scores and grades—including applicants who are white and Asian—must have

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strong unobservable factors that make them attractive to an admissions officer. (Tr.

962:2-23 (Hoxby).)

V.     THERE IS NO WORKABLE RACE-NEUTRAL ALTERNATIVE TO THE
       UNIVERSITY’S CURRENT RACE-CONSCIOUS PRACTICES

A.     The University Already Employs Many Robust Race-Neutral Strategies that
       Complement Race-Conscious, Holistic Review

       147.   The factual record incontrovertibly demonstrates that the University has

adopted race-neutral strategies to increase its enrollment of underrepresented minority

students in conjunction with holistic review. (Tr. 574:8-12 (Farmer).)

       i.     The University engages in continuous recruitment, including special
              outreach to students from diverse backgrounds

              (a)    The University recruits diverse applicants to apply

       148.   The University engages in extensive recruitment efforts to encourage

talented and diverse students, including underrepresented minority students, low-income

students, first generation college students, and geographically diverse students, to apply

for admission. (Tr. 574:14-16 (Farmer).)

       149.   Each year, University staff, students, and alumni send recruiting

communications to 80,000 to 100,000 high school students throughout the state,

nationally, and internationally who have either expressed interest in the University or

achieved grades and standardized test scores above certain levels, encouraging them to

apply. (Tr. 732:5-8, 728:24-729:2, 730:1-7, 731:1-9, 732:11-20 (Davis).)

       150.   To further encourage applicants, Admissions Office representatives visit

every county in North Carolina at least once annually, to engage with prospective
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students in their own communities. (Tr. 735:9-12 (Davis); Tr. 575:6-10 (Farmer).) The

University also participates in college fairs, high school visits, and information sessions

across the state and country. (Tr. 734:22-735:8 (Davis); Toone Dep. 83:21-84:4.)

Additionally, each year, the Admissions Office hosts an on-campus daily visit program

for 60,000 to 70,000 students and their families, which includes campus tours led by

current students and information sessions led by admissions officers. (Tr. 735:13-22

(Davis).)

       151.   The Admissions Office considers students who identify as either first-

generation college, low income, African American, Native American, or Hispanic/Latinx,

or students outside of the U.S. to be priority groups for recruitment and employs special

recruitment strategies targeted toward students in these groups. (Tr. 731:12-16 (Davis).)

For example, the Admissions Office hosts a series of information sessions designed for

first-generation college students. (Tr. 735:23-25, 736:2-6 (Davis).)

       152.   The Admissions Office also collaborates with the Office of Diversity and

Inclusion to sponsor “Project Uplift,” a pipeline program offered in the summer to rural,

low-income, first-generation college, and underrepresented minority students. (Tr.

575:11-15 (Farmer); 736:13-737:4 (Davis).) Additionally, the Admissions Office partners

with the American Indian Center to host “Carolina Horizons,” an event that invites

Native American students to campus, introduces them to the University’s Native

American community, and encourages college attendance. (Tr. 737:8-15 (Davis).)



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       153.   The University also has a need-blind admissions policy. (Tr. 554:14-23

(Farmer).) This policy encourages applications from low-income students by assuring

them that their ability to pay for their college education will not be held against them in

the admissions process. (Tr. 555:3-16 (Farmer).)

              (b)    The University undertakes significant efforts to encourage a
                     diverse group of students to enroll

       154.   Once students are admitted, the University continues its recruiting outreach.

The University extensively communicates with admitted students through print mailings,

e-mails, social media, and phone campaigns. (Tr. 740:17-25 (Davis).)

       155.   Each year, the University also invites every admitted student to campus for

the Admitted Students Day program. (Tr. 742:1-5 (Davis).) During Admitted Students

Day, students can take a campus tour, interact with student groups, meet individually

with representatives from the Admissions Office or the Office of Scholarships and

Student Aid, and attend programs based on their interests—academic or otherwise. (Tr.

742:7-22 (Davis).)

       156.   To ensure cost is not a barrier for admitted students to visit campus, the

Admissions Office offers a travel grant to any student who applied with a fee waiver or is

eligible for a Pell Grant. (Tr. 743:7-11 (Davis).) The travel grant covers the cost of a

student and one parent to come to campus and experience the University. (Tr. 743:1-15

(Davis).)

       157.   The University also encourages enrollment through other means. For

example, in addition to scholarships that are awarded on the basis of financial need, each
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year the University awards 400 to 450 scholarships to incoming students who will

contribute to the University community in meaningful ways. (Tr. 738:25-739:14, 739:21-

25, 740:1-7 (Davis).) The University similarly encourages admitted students to enroll by

offering unique opportunities, such as participation in Honors Carolina, a summer study

abroad fellowship, or Excel @ Carolina, a research mentoring program. (Tr. 738:19-24,

740:9-14 (Davis).)

       158.   The University also intentionally targets outreach toward underrepresented

students. For example, the Admissions Office partners with the Carolina Black Caucus

and the American Indian Center to run telephone campaigns specifically aimed toward

students who may share an identity with these groups. (Tr. 741:14-23 (Davis).) The

Admissions Office also engages with diverse students in their home communities by

hosting admitted student dinners for priority recruitment groups across the state. (Tr.

743:16-21, 744:9-11 (Davis).)

       ii.    The University extends outreach to underserved, low-income, first
              generation college student, and minority populations through special
              programs and financial aid

       159.   The University’s commitment to increasing college access for low-income,

first-generation college, and underrepresented minority students from North Carolina is

demonstrated, in part, through its support of the Carolina College Advising Corps

(“CCAC”). (Tr. 576:2-9 (Farmer); JSF ¶92.) The CCAC places recent University

graduates, who receive training from the University’s admissions and financial aid

officers, as college advisors in selected public high schools throughout the state to assist

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with the college admissions and financial aid processes. (JSF ¶¶93-95; Tr. 576:13-17

(Farmer).)

       160.   The CCAC has grown from four advisors serving eight schools in 2007, to

57 advisors serving 77 North Carolina high schools in 2017-2018. (JSF ¶96; Tr. 577:7-13

(Farmer).) The CCAC serves about 20% of all black or African American students in

public high schools in North Carolina, 50% of all American Indian students in North

Carolina, and a large share of Hispanic, Latino, and Latinx students. (Tr. 577:19-23

(Farmer).)

       161.   Although the University has expanded the CCAC as quickly as possible,

there are financial limits. (Tr. 578:1-6 (Farmer).) The CCAC program is not state funded

and relies on its own fundraising efforts for 60-70% of its funding. (JSF ¶¶97-98.)

       162.   The University also seeks to increase its enrollment of diverse students

through the Carolina Student Transfer Excellence Program (“C-STEP”). Established in

2006, C-STEP offers guaranteed University admission to students who attend one of

eleven partner community colleges in the state of North Carolina, complete required

coursework, and earn an associate degree. (JSF ¶¶88, 90.) Students whose household

incomes fall at or below 300% of federal poverty guidelines are eligible for C-STEP, and

the University meets 100% of their financial need. (JSF ¶¶89, 91.)

       163.   The University provides support to participating community colleges, funds

staff members to support C-STEP, and provides academic support for C-STEP

participants as soon as they join the program. (Tr. 579:19-23, 580:14-16 (Farmer).)

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       164.   C-STEP has grown from three partner colleges and eight students in 2006

to 14 partner colleges and 400 students today. (Tr. 580:11-13 (Farmer).) Mr. Farmer

credibly testified that although the University has grown C-STEP, more rapid expansion

is not a viable replacement for the consideration of race or ethnicity during holistic

review. (Tr. 581:3-19 (Farmer).)

       iii.   The University’s generous financial aid program is a race-neutral way
              that it attracts and enrolls a diverse undergraduate student body,
              regardless of ability to pay

       165.   The University’s admissions approach is need-blind; it evaluates applicants

based on their merits, not their financial means. The University does not penalize a

student for their inability to pay the full cost of their education. (Tr. 554:17-23 (Farmer).)

       166.   The University awards 93% of its available scholarship and grant funds

based solely on financial need. (JSF ¶¶77-80; Tr. 582:17-19 (Farmer).) Moreover, the

University is one of only two public universities in the country that meets 100% of

students’ demonstrated financial need. (Tr. 581:24-582:4 (Farmer); JSF ¶81.)

       167.   For the 2016-2017 school year, the University provided approximately

$159 million in scholarships and grants to undergraduate students. (JSF ¶82.)

Approximately 41 percent of the first-year entering class for the 2016-2017 school year

received a scholarship or grant money from the University. (JSF ¶83.)

       168.   The University recruits and supports low-income students through its

Carolina Covenant program. The Carolina Covenant offers admitted students whose

family income is at or below 200% of the federal poverty guidelines a financial aid

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package that meets 100% of their cost of attendance and allows them to graduate debt

free. (JSF ¶¶84-85 (emphasis added).)

       169.    The Carolina Covenant represents a huge financial commitment from the

University—an out-of-state Covenant scholar receives $40,000 per year in institutional

grant funding from the University, while a North Carolina resident Covenant Scholar

receives about $13,000 per year.5 (Tr. 585:3-7 (Farmer).) Carolina Covenant Scholars

account for approximately 12-14% of each incoming first-year class, and the University

does not set a cap on the number of students who can participate. (JSF ¶86; Tr. 584:22-24

(Farmer).)

       170.    The University has received recognition for its affordability and financial

aid efforts. (Tr. 587:8-10 (Farmer).) For example, for 18 consecutive years the University

has been ranked as the best value among public universities by Kiplinger’s Personal

Finance magazine. (Tr. 587:12-24 (Farmer).) In 2017, the University was the first public

school to receive the Cooke Prize for Equity in Educational Excellence, an award given

to a college or university “doing the best job for outstanding low-income students.” (Tr.

588:3-7 (Farmer).)

       171.    The University faces serious financial challenges that make it difficult to

expand financial aid at will. (Tr. 585:17-19 (Farmer).) As a state-supported entity, the




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    It costs less to attend the University for students who are North Carolina residents. (Tr.
    585:8-9 (Farmer).)

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University receives some monies from direct state appropriations that are designated by

the General Assembly for purposes other than student aid. N.C. Gen. Stat. 116-11(9).

(DX120 ¶37.) Moreover, since 2014, the Board of Governors has capped the amount of

tuition revenue that the University can use to fund financial aid. (JSF ¶87.)

       172.   The evidence demonstrates that the University cannot spend more of its

endowment funds to expand financial aid. The University’s endowment funds are subject

to restrictions that donors typically place on such funds, which cannot be removed

without express consent. (DX120 ¶¶38-39.) Ninety percent of the University’s

endowment is restricted. (Tr. 586:10-22 (Farmer).) The University may access about $6

million per year in unrestricted endowment funds, much of which already supports need-

based student aid. (Tr. 586:23-587:2 (Farmer).)

B.     The University Has Rigorously Assessed Potential Race-Neutral Alternatives
       that Might Replace Its Current Admissions Process

       i.     The Admissions Office made early efforts to follow the “natural
              experiments” of other universities

       173.   In 2004, Mr. Farmer and other Admissions Office leaders began regularly

attending meetings of the College Board’s Access & Diversity Collaborative. (Tr.

589:24-590:15 (Farmer).) Mr. Farmer testified credibly that he and others in the

Admissions Office also paid close attention to the natural experiments that were

occurring at universities in states that had banned the consideration of race in admissions.

(Tr. 589:6-23, 590:10-15 (Farmer).)




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       ii.      The Admissions Office analyzed a socioeconomic status race-neutral
                alternative

       174.     In 2007, the Admissions Office evaluated whether it could use indicators of

socioeconomic disadvantage in the admissions process to yield a class with academic

credentials and racial diversity levels similar to those of the actual admitted class. (Tr.

590:20-25 (Farmer); DX034; DX035; DX036.) This study demonstrated that giving

increased weight to socioeconomic status would not permit the University to achieve

levels of diversity and academic excellence comparable to those attained through the

current practice of holistic review. (Tr. 591:21-592:22, 595:8-12, 663:10-15 (Farmer);

DX036.)

       iii.     The Admissions Office kept apprised of research concerning race-
                neutral alternatives

       175.     In 2009, Mr. Farmer asked Dr. Kretchmar to conduct a thorough review of

the literature on race-neutral alternatives. (Tr. 92:9-12, 93:9-13 (Kretchmar); Tr. 595:15-

17 (Farmer).) Dr. Kretchmar produced a report of her findings. (Tr. 595:25-596:3

(Farmer); DX037.) Dr. Kretchmar concluded in the report that available race-neutral

alternatives were not as effective as holistic admissions practices at producing

comparable levels of diversity and academic quality. (DX037 at 9-10; Tr. 93:22-94:3

(Kretchmar).)

       176.     Mr. Farmer testified that the 2009 Literature Review demonstrated to him

that schools like the University had not found race-neutral alternatives that worked well.

(Tr. 596:15-17 (Farmer).)

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       iv.    The Admissions Office analyzed a class rank percentage plan

       177.   In 2012, Mr. Farmer and Dr. Kretchmar used historical applicant data to

model a top 10% plan on the share of the first-year class composed of North Carolina

residents, i.e., guaranteeing admission to every in-state applicant who graduated in the

top 10% of his or her high school class. (Tr. 596:20-23 (Farmer); DX038.)

       178.   This simulation yielded a first-year class with a slightly higher percentage

of underrepresented students (16% versus 15%), but every academic indicator—other

than the share of the class ranking in the top 10% of their high schools—declined. (Tr.

597:4-14 (Farmer); see also Tr. 597:13-24 (Farmer) (testifying that the average SAT

score of the simulated class declined by 130 points).) As a result of this analysis, the

University determined that it could not adopt a top 10% plan in lieu of holistic

admissions. (Tr. 598:21-24 (Farmer).)

       179.   The results of this study were reported to the Advisory Committee on

Undergraduate Admissions. (Tr. 598:25-599:5 (Farmer).)

       v.     The U.S. Department of Education’s Office for Civil Rights found that
              the University had seriously and in good faith considered race-neutral
              alternatives as of November 2012

       180.   On November 27, 2012, the Office for Civil Rights (“OCR”) sent the

University a letter closing a complaint made about the University’s consideration of race

and national origin in admissions. (Tr. 606:22-15, 607:21-608:2 (Farmer); DX039.) In

closing the complaint, the OCR concluded that “the University has seriously and in good

faith considered race-neutral alternatives” and noted that the University was “using some

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race-neutral diversity factors [in admissions], including socioeconomic status and first-

generation college status.” (Tr. 607:16-608:22 (Farmer).)

       181.   At the time, the University committed to periodically review its use of race

in undergraduate admissions and informed OCR that it planned to next do so within 90

days following the Supreme Court’s issuance of its decision in Fisher v. University of

Texas at Austin. (Tr. 609:5-10, 613:25-615:5 (Farmer); PX008.)

       182.   On September 6, 2013, the Advisory Committee held a special meeting to

discuss the recently decided Fisher case, review the University’s current admissions

policy, and address three questions: (1) Does the University’s current admissions practice

result in the needed diversity to enhance the student experience?, (2) What is critical

mass and has the University attained it?, and (3) Are there race-neutral alternatives that

could potentially provide similar results to the current policy? (Tr. 617:2-618:13

(Farmer); PX009.)

       vi.    The University convened the Working Group on Race-Neutral
              Alternatives

       183.   In September 2013, Mr. Farmer convened a working group chaired by

Barbara Polk, the then-Deputy Director of Admissions, to explore race-neutral

alternatives to the University’s current admissions practices. (Tr. 618:17-619:17

(Farmer).) That working group consisted of members of faculty and staff from across the

University. (Tr. 96:17-22 (Kretchmar); Tr. 620:23-621:11 (Farmer).)

       184.   From December 2013 through October 2014, the Working Group held

regular meetings during which it identified possible race-neutral alternatives, reviewed
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relevant literature and commentary, and sought to understand other institutions’

experiences with implementing race-neutral alternatives. (DX040; DX041; DX042;

DX043; Tr. 96:23-24 (Kretchmar); see also PX036 (reflecting one meeting in 2015).)

       185.    The Working Group modeled the impact of five race-neutral alternatives on

the in-state portion of the University’s entering class: (1) an approach that used strength

of a student’s high school curriculum and a standardized testing threshold as criteria for

admission; (2) a top 10% plan; (3) a top 4.5% plan; (4) a percentage plan that guaranteed

admission to top-ranked students while also admitting more students from low-income

high schools; and (5) an approach that would guarantee admission to students with

standardized test scores above a certain threshold. (DX045 at 17-19; Tr. 630:7-15

(Farmer).) Each alternative analyzed resulted in either a decline in racial diversity, a

decline in academic quality, or both. (DX045 at 17-20; Tr. 631:1-8 (Farmer).)

       186.    The Working Group concluded that no race-neutral alternative would allow

the University to achieve a level of academic excellence and diversity comparable to that

achieved by the current admissions practices. (DX045 at 17; Tr. 631:1-4 (Farmer).) The

Working Group summarized its findings in a November 2014 report (the “White Paper”).

(Tr. 105:7 (Kretchmar); DX045.)

       187.    In February 2016, the Working Group presented the White Paper to the

Advisory Committee for Undergraduate Admissions. (PX038; DX048; Tr. 104:24-105:25

(Kretchmar); DX047.) The Advisory Committee approved the Working Group’s White

Paper. (Id.)

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       vii.   The University convened the Committee on Race-Neutral Strategies

       188.   In February 2016, the Advisory Committee convened the Committee on

Race-Neutral Strategies (“CRNS”) to build upon the work of the Working Group. (PX

38; Tr. 106:1-6 (Kretchmar); Tr. 631:15-18 (Farmer).) The CRNS is comprised of faculty

and administrators who have expertise in various fields relevant to exploring race-neutral

alternatives, including diversity and inclusion, data integration and analysis, machine

learning, modeling, causal inference, student affairs, and undergraduate admissions. (Tr.

823:22-825:7 (Panter).)

       189.   The charge of the CRNS is to: (1) consider whether there are workable

race-neutral strategies and practices that the Admissions Office could employ in

evaluating applications for undergraduate admission; (2) advise the Admissions Office

about these strategies and practices; and (3) report to the Advisory Committee on the

CRNS’s consideration of specific race-neutral strategies approximately every two years.

(Tr. 822:9-23 (Panter); DX054 at 2.)

       190.   In evaluating race-neutral alternatives, the CRNS considered the effect of

race-neutral practices on the University’s diversity objectives and academic goals, as well

as the potential administrative expense associated with implementing such practices. (Tr.

828:6-11 (Panter).) As a starting point, the CRNS sought to identify a race-neutral

alternative that would work about as well as holistic review, meaning that the incoming

class would have approximately the same levels of academic preparedness and diversity



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as classes the University had enrolled through holistic review. (Tr. 858:23-859:7 (Panter);

see also Tr. 635:16-636:4 (Farmer).)

       191.    The CRNS convened 15 times between Spring 2016 and April 9, 2018. (Tr.

826:25-827:1 (Panter).) The CRNS began its work by discussing the University’s mission

and diversity goals and reviewing the Provost’s Report on the Educational Benefits of

Diversity. (Tr. 826:25-827:1, 831:2-11 (Panter).) The CRNS also met with

representatives from the Admissions Office to learn about the University’s admissions

practices. (Tr. 831:20-23 (Panter); DX054 at 3.) Additionally, the CRNS reviewed the

White Paper prepared by the Working Group on Race-Neutral Alternatives and met with

members of that working group to learn more about their work. (Tr. 832:6-24 (Panter);

DX054 at 4.)

       192.    The CRNS formed three subcommittees, each charged with completing

different tasks and reporting back to the larger committee: the Literature Review

Subcommittee, the Data Analytics Subcommittee, and the Impact of Diversity on the

Student Experience Subcommittee. (Tr. 833:13-21 (Panter); DX054 at 4-5.)

       193.    The Literature Review Subcommittee reviewed current social science and

legal literature on race-neutral alternative admissions practices, focusing on published

studies, race-neutral admissions strategies adopted by other schools, public policy

reports, and court documents. (Tr. 834:24-835:22 (Panter); DX54 at 4, 5.) The Literature

Review Subcommittee identified five major categories of race-neutral strategies and

presented them to the CRNS. (Tr. 839:6-12 (Panter); DX54 at 5.)

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       194.   The CRNS discussed these five categories and determined that three

warranted further review: percentage plans, socioeconomic affirmative action programs,

and race-neutral diversity essays. (Tr. 839:18-840:1 (Panter); DX54 at 5.) The Literature

Review Subcommittee found that research generally suggests that percentage plans and

socioeconomic affirmative action programs are unlikely to be effective and efficient

substitutes for admission strategies that overtly consider race. (Tr. 839:18-21, 840:7-20

(Panter); DX054 at 5.) The subcommittee also found research on race-neutral diversity

essays to be lacking. (Tr. 839:24-841:2; DX054 at 5.)

       195.   Even though the literature review cast doubt on the utility of race-neutral

strategies as a complete substitute for the consideration of race in admissions, the

Literature Review Subcommittee nevertheless recommended that the CRNS update and

expand simulations of percentage plans, run simulations of socioeconomic affirmative

action programs, and consider having further discussions about the advantages and

disadvantages of race-neutral diversity essays. (Tr. 842:15-843:4 (Panter); DX54 at 5-6.)

Dr. Panter credibly testified that the CRNS considered and pursued these

recommendations. (Tr. 843:5-11 (Panter).)

       196.   The Data Analytics Subcommittee empirically examined the role of various

undergraduate applicant attributes, including race and ethnicity, that were considered as

part of the holistic admissions process during the 2016-2017 application cycle. (Tr.

843:15-20 (Panter); DX054 at 6-7.) After completing its analysis, the subcommittee

examined its findings across five application cycles (from 2012 through 2017) and

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concluded that applicants’ race or ethnic status does not dominate the admissions

decision. (Tr. 843:23-844:1, 844:16-845:2 (Panter); DX055.)

       197.   The Data Analytics Subcommittee also developed infrastructure for

statistical and data analyses that can be used to evaluate potential race-neutral

alternatives. (Tr. 843:20-23 (Panter).) This process was an important threshold step to

enable the subcommittee to simulate race-neutral alternatives. (DX054 at 46.) Dr. Panter

credibly testified that although admissions simulations are not the sole way to evaluate

race-neutral alternatives, the CRNS would run simulations of race-neutral alternatives in

the future, as needed. (Tr. 857:5-858:13 (Panter).)

       198.   The Impact of Diversity on the Student Experience Subcommittee analyzed

existing University student surveys and social science literature to understand student

experiences and how diversity has contributed to those experiences, a critical aspect of

determining whether the University is realizing the educational benefits of diversity. (Tr.

836:22-838:2, 851:5-852:9 (Panter), DX054 at 7, 110.)

       199.   In May 2018, the CRNS issued an interim report to the Chancellor and the

Provost. (DX054.) At the time of that report, in addition to the work of the CRNS and its

subcommittees, the CRNS Chair had also reviewed the expert reports in this case with the

intent to learn from the experts’ analyses. (Tr. 849:16-850:9 (Panter).) As of the time the

interim report was issued, the CRNS planned to conduct a deeper dive into the parties’

expert reports. (Tr. 850:13-15 (Panter).)



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       200.   The CRNS’s work is extensive and ongoing. (Tr. 854:15-855:10, 856:10-

857:4 (Panter).) Dr. Panter credibly testified that the CRNS is committed to continuing to

meet its charge. (Tr. 856:10-21 (Panter).)

       201.   Mr. Farmer and Dr. Panter both credibly testified that, over the past 16

years, the University has considered many different race-neutral alternatives to its

holistic, race-conscious admissions program, but has not found an alternative that has

come close to achieving its goals. Mr. Farmer also credibly testified that the University

has considered the workability of race-neutral alternatives, both in terms of the “ability to

translate a theory into a practice” and the expense involved. (Tr. 634:20-635:11

(Farmer).) Additionally, both convincingly testified that the University is committed to

considering in good faith any alternative that appears to be reasonably capable of

replacing race-conscious admissions practices. (Tr. 635:19-636:3 (Farmer); Tr. 858:17-20

(Panter).)

C.     Comprehensive Expert Analysis Confirms that No Workable Race-Neutral
       Alternative Would Allow the University To Maintain Its Current Levels of
       Academic Preparedness and Racial Diversity

       202.   The University presented expert testimony from Professor Hoxby

concerning the availability and feasibility of race-neutral alternatives to its current

admissions process. Professor Hoxby conducted exhaustive econometric simulations of

race-neutral alternatives, attempting to assess all potentially plausible race-neutral

alternatives, including, but not limited to, those suggested in the Complaint or by SFFA’s

expert on race-neutral alternatives, Richard Kahlenberg. (Tr. 937:21-938:4, 981:3-25,

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992:18-994:5, 1043:19-23 (Hoxby).) Mr. Kahlenberg agreed that the expert analysis

performed covered the “waterfront of race-neutral alternatives.” (Tr. 489:25-490:4

(Kahlenberg).)

       203.   Professor Hoxby ran more than 100 simulations of various admissions

plans and analyzed the resulting racial composition and academic preparedness of a

hypothetical enrolling class. The alternatives she assessed include: (1) socioeconomic

status-based plans in which greater emphasis is given to applicants from disadvantaged

backgrounds; (2) percentage plans in which a certain percentage of students—typically

those at the top of their high school class—are automatically admitted; and

(3) geography-based plans in which greater emphasis is given to applicants from

particular geographic areas. (Tr. 993:1-5 (Hoxby).)

       204.   Professor Hoxby also ran a matriculation model predicting who would

enroll under every race-neutral alternative that she simulated. (Tr. 983:17-984:1

(Hoxby).) She testified that this step was important to understand the results of the

simulation because admitted students who do not enroll at the University do not affect the

composition of the class. (Tr. 982:3-983:16 (Hoxby).) By contrast, Mr. Kahlenberg did

not account for who might enroll, but considered only the admitted class. (Tr. 1054:5-7

(Hoxby).)

       205.   In performing her simulations, Professor Hoxby made very generous

assumptions favorable to the race-neutral alternatives in order to test the ceiling of what

is reasonably possible. (Tr. 938:5-11, 986:24-987:12, 1073:8-11, 1106:2-17, 1113:7-14

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(Hoxby); see also Tr. 988:1-991:16, 991:20-992:16 (Hoxby) (explaining assumptions

made).) Mr. Kahlenberg agreed that Professor Hoxby’s methodology of filling any

remaining admissions seats (i.e., “completing the class”) in her race-neutral simulations

favored the success of the race-neutral alternative. (Tr. 489:12-16 (Kahlenberg).)

       206.   In assessing the outcome of each race-neutral alternative simulation,

Professor Hoxby reported whether the alternative would allow the University to attain

both its actual levels of racial diversity and academic preparedness. (Tr. 984:2-13,

1049:3-9 (Hoxby).) Whether a race-neutral alternative can achieve the same amount of

racial diversity as a race-conscious approach depends on how strongly the proxy or

variable used as an alternative to race—e.g., socioeconomic status or attending a particular

high school—correlates with underrepresented minority status within the applicant pool.

(Tr. 1193:9-1194:4, 1205:13-1206:2 (Long); Tr. 1044:23-1045:10 (Hoxby).)

       207.   Professor Hoxby measured academic preparedness by using average

composite SAT score. (Tr. 984:16-25 (Hoxby).) Although Professor Hoxby

acknowledged that average SAT score is an imperfect academic indicator, it is the best

available because it is standardized, unlike high school GPA. (Tr. 985:1-19 (Hoxby).)

       208.   Professor Hoxby also considered whether the race-neutral alternatives she

assessed could be feasibly implemented by the University. (Tr. 986:11-21 (Hoxby).)

       209.   Professor Hoxby concluded that none of the race-neutral alternatives she

simulated would allow the University to attain its current levels of racial and ethnic

diversity, as well as academic preparedness. (Tr. 938:5-11, 1032:16-1033:7 (Hoxby).)

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Professor Hoxby testified credibly that if there was a realistic and feasible race-neutral

alternative capable of attaining the University’s actual levels of racial and ethnic diversity

and academic preparedness, her empirical analysis would have revealed it, particularly

due to the favorable assumptions she made and the wide range of possibilities she

considered. (Tr. 1182:3-14 (Hoxby).)

       210.   The University also presented evidence on race-neutral alternatives from

Dr. Bridget Terry Long, Dean of the Harvard Graduate School of Education. Dean Long

has a Master’s and Ph.D. in economics from Harvard University and has taught at the

Harvard Graduate School of Education since 2000. Dean Long was appointed by

President Obama and confirmed by the United States Senate to serve on the national

Board of Education Sciences, which oversees and advises on the research functions of the

Department of Education. Dean Long’s research in economics focuses upon college

access and success, and she also teaches graduate level courses focused on the economics

of higher education. Dean Long has also served on the admissions committee of the

Harvard Graduate School of Education, has taught students who have worked in

admissions, has taught in professional education, and has consulted with colleges and

universities seeking to improve their admissions processes. (Tr. 1184:9-1188:13 (Long).)

Dean Long has testified four times in front of United States congressional committees,

most recently to the Senate Health Commission, which focuses on education, relating to

the FAFSA federal financial aid form. (Tr. 1188:18-25 (Long).)



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       211.   Dean Long testified credibly on three topics: (1) race-neutral alternatives

implemented by universities, hypothesized in academic literature, or mentioned in the

Complaint; (2) whether certain potential race-neutral alternatives should be considered by

the University; and (3) certain of the opinions and assertions offered by Mr. Kahlenberg.

(Tr. 1189:3-15 (Long).)

       i.     No socioeconomic status-based race-neutral alternative achieves the
              University’s current levels of racial and ethnic diversity and academic
              preparedness.

       212.   Professor Hoxby tested socioeconomic status (“SES”)-based race-neutral

alternatives using different SES-indices: (1) a student’s likelihood to attend a two-year or

four-year college, (2) a student’s likelihood to attend a four-year college, (3) a student’s

ability to overcome disadvantage, and (4) a composite proxy designed to maximize the

power of socioeconomic variables to predict race and ethnicity. (Tr. 1006:4-1008:22

(Hoxby).)

       213.   For each of these four SES-indices, Professor Hoxby ran 20 different

simulations (80 overall), using both a variety of thresholds for what would be considered

“low” SES and varied emphasis, i.e., how many low-SES students the University would

hypothetically admit. (Tr. 998:18-1000:6, 1075:10-25 (Hoxby).) For each simulation, she

filled the remaining admissions seats (i.e., “completed the class”) by randomly drawing

students from the University’s current admitted applicant pool to incorporate the

University’s current holistic approach. (Tr. 1001:15-1002:10 (Hoxby).)



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       214.   In each socioeconomic status-based race-neutral alternative simulation, as

part of predicting who would be admitted under the hypothetical admissions regime,

Professor Hoxby sought to make the simulation come as close as possible to achieving

the University’s actual levels of racial diversity and academic preparedness through

generous assumptions. (Tr. 1001:5-13, 1096:22-1097:7 (Hoxby).) Similarly, when

predicting who would enroll under the hypothetical admission regime, Professor Hoxby

designed her model to mimic the University’s current admissions process, thereby

favoring the odds that the race-neutral alternative would attain the University’s actual

levels of racial diversity and academic preparedness. (Tr. 1001:14-1002:16, 1003:10-13

(Hoxby).)

       215.   Professor Hoxby made other “optimistic” assumptions that maximized the

SES-based simulations’ chances for success. She assumed the University could identify

all socioeconomic-disadvantaged students even though no admissions office in the United

States currently obtains the sophisticated data and undertakes the considerable analytic

effort that would be required to adopt such a plan in reality. (Tr. 1003:18-1004:7, 995:1-6

(Hoxby).) She also assumed that the University would be able to get socioeconomically

disadvantaged students to apply at the same rate as current well-qualified applicants. (Tr.

1004:8-23 (Hoxby).) Finally, she assumed that applicants admitted under the current

race-conscious admissions system would continue to enroll exactly as they do now—

even though the experience of universities who have ceased race-conscious admissions



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(e.g., Texas and California) suggests that applicant behavior will change. (Tr. 1005:13-

22, 1069:25-1071:4 (Hoxby); Tr. 1201:1-16 (Long).)

       216.    Professor Hoxby found no SES-based simulation that met the actual levels

of racial diversity or academic preparedness the University achieves through race-

conscious admissions. She reached this conclusion despite her attempts “to test the

absolute ceiling of what could be achieved by a socioeconomic index in a race-neutral

alternative.” (Tr. 1013:1-3, 1013:8-20, 1102:2-7 (Hoxby).)

       217.    Professor Hoxby’s empirical analysis and conclusion that no reasonable

SES-based race-neutral alternative would achieve the University’s current levels of racial

diversity is credible and consistent with Dean Long’s testimony that even though many

low-income students are African American or Hispanic, the majority of low-income

students are white. Thus, an admissions policy that gives preferences according to

socioeconomic status will end up admitting more white students than underrepresented

minorities. (Tr. 1206:3-17 (Long).) Indeed, empirical analysis using data from the

University’s applicant pool and NCERDC data6 demonstrates that, in the state of North

Carolina, socioeconomic status is not highly correlated with race and ethnicity.7 (Tr.

995:21-996:20, 1013:11-16, 1065:21-1066:6 (Hoxby); see also Tr. 997:9-998:14,



6
    The North Carolina Educational Research Data Center (“NCERDC”) contains data for all
    North Carolina public school students. (Tr. 421:15-16 (Kahlenberg); Tr. 989:22-23 (Hoxby);
    Tr. 996:4-5 (Hoxby).)
7
    Unlike Professor Hoxby, Mr. Kahlenberg did not directly quantitatively analyze the
    relationship between socioeconomic status variables and underrepresented minority status.

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1013:17-20 (Hoxby).) Notably, no undergraduate university has implemented a

socioeconomic status-based plan that has replaced a holistic, race-conscious admissions

approach (Tr. 1206:21-1207:3 (Long)), a fact that further supports Professor Hoxby’s

conclusions.

               (a)   No realistic percentage plan attains the University’s current
                     levels of both racial and ethnic diversity and academic
                     preparedness

       218.    A “percentage” or “top X percent” plan automatically admits students who

are in a defined top X percent—most often, high school class rank. (Tr. 1016:19-1017:5

(Hoxby).) The specific percentage, or “X,” depends on the specific institution’s

characteristics, including the number of students who are eligible for admission and the

number of seats that are available at the university. (Tr. 1017:6-14 (Hoxby).)

       219.    A high school class rank percentage plan could produce racial diversity

only if there is underlying racial segregation; in other words, applicants must attend

racially segregated high schools—both now and in the future. (Tr. 1019:4-8, 1019:24-

1020:6 (Hoxby); Tr. 1196:11-17 (Long).)

       220.    Professor Hoxby analyzed a top 7.95% plan, which replicates the size of a

typical admitted class under the University’s current admissions process. (Tr. 1017:20-25

(Hoxby).) Under this plan, the average SAT score of admitted students dropped by 77

points, with this decrease especially pronounced among underrepresented minority

students. (Tr. 1018:1-10 (Hoxby) (testifying that, on average, SAT scores were 129 and

99 points lower for African American and Hispanic students, respectively).) Although the

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overall percentage of underrepresented minority students did not change, more white

students were accepted and fewer Asian-American applicants were accepted. (Tr.

1018:15-25 (Hoxby).)

       221.   Professor Hoxby likewise concluded that a percentage plan produced an

enrolled class with lower academic preparation compared to the University’s current

enrolled class: the average test scores for enrolled students fell by 76 points, with scores

for enrolled African American and Hispanic students falling by 122 and 96 points,

respectively. (Tr. 1020:18-24 (Hoxby).)

              (b)    No geography-based race-neutral alternative achieves the
                     University’s current levels of racial and ethnic diversity and
                     academic preparedness

       222.   A geography-based admissions plan is entirely theoretical; no university

has implemented such an alternative, and there is no precedent for how such a plan would

work or the results it would produce in practice. (Tr. 1024:21-25 (Hoxby); see also Tr.

1202:3-11 (Long).) Although difficult to design and test, Professor Hoxby relied on

articles cited in the Complaint and her own expertise to design and simulate the most

successful geography-based plans possible. (Tr. 1025:1-9, 1028:6-1029:1 (Hoxby).) Mr.

Kahlenberg did not simulate any geography-based race-neutral alternative.

       223.   Specifically, Professor Hoxby used North Carolina census tracts as the

geographic replacement for high schools and prioritized applicants from census tracts that

were historically the most “disadvantaged” in terms of the admissions rate for its well-

qualified potential applicants to the University. (Tr. 1027:4-23 (Hoxby).) To admit

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students within each census tract, Professor Hoxby ranked students within each tract

using an equally weighted combination of test scores and grades—a choice designed to

favor the geography-based race-neutral alternative’s ability to attain the University’s

current level of average test score and academic preparedness. (Tr. 1025:10-1026:21

(Hoxby).)

       224.   Even after making favorable assumptions, Professor Hoxby found that a

geography-based plan using census tracts resulted in a significant decrease in the racial

diversity of the University’s admitted and enrolled student populations. (Tr. 1028:1-3

(Hoxby).)

       225.   Professor Hoxby also created an index designed to test the ceiling of a what

geography-based race-neutral alternative could achieve. Using this geography-based

index (designed akin to her socioeconomic status indicator index), she concluded that the

University would experience a significant decrease in racial diversity in both its admitted

class and enrolled class if it employed a geography-based race-neutral alternative. (Tr.

1029:2-7 (Hoxby).)

       226.   As with place-based percentage plans based on high school class rank, the

more desegregated North Carolina is, the more a geography-based race-neutral

alternative would automatically fail to attain racial and ethnic diversity. (Tr. 1029:8-

1030:5 (Hoxby); see also Tr. 1202:12-16 (Long) (“[S]imilar to the percentage plan, in

order for [a geography-based plan] to be successful, there would have to be a high level



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of segregation across ZIP codes in order for that – that kind of preference to produce a

racially and ethnically diverse student body.”).)

              (c)    No other potential race-neutral strategy suggested by Mr.
                     Kahlenberg achieves the University’s current levels of racial and
                     ethnic diversity and academic preparedness

       227.   Without any detailed analysis or evidence, SFFA’s expert Mr. Kahlenberg

asserts that the University could do “more” to recruit minority students, partner with

disadvantaged high schools, and increase transfers from community colleges. He admits

that none of these strategies could, on their own, replace the University’s current

admissions approach; however, he insists that increased efforts would enable the

University to move away from the consideration of race as part of a holistic review. (Tr.

500:9-16 (Kahlenberg).)

       228.   Professor Hoxby empirically evaluated each of these additional strategies

that Mr. Kahlenberg suggested in his expert reports. (Tr. 1030:10-14 (Hoxby).) In

response to Mr. Kahlenberg’s suggestion that the University could better partner with

disadvantaged high schools, Professor Hoxby ran 16 different simulations focusing on

high schools with high proportions of more socioeconomically disadvantaged students.

(Tr. 1030:17-1031:6 (Hoxby).) Based on these simulations, Professor Hoxby concluded

that such an approach would result in substantially lower test scores in the University’s

admitted and enrolled classes. (Tr. 1031:7-9 (Hoxby).)

       229.   Although Mr. Kahlenberg did not perform any simulations or quantitative

analysis relating to community college transfers (Tr. 499:20-500:3 (Kahlenberg)),

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Professor Hoxby empirically tested Mr. Kahlenberg’s suggestion that the University

could significantly increase the number of transfer students admitted from community

colleges to implement a race-neutral alternative. (Tr. 1031:10-14 (Hoxby).)

       230.   Professor Hoxby assumed that the University would be able to identify all

students within the NCERDC data who expressed an intention to attend a community

college and convince the students with the highest test scores to transfer to the

University, thereby ensuring the simulation would result in the highest possible average

test score. (Tr. 1031:14-23 (Hoxby).) Even with these generous and optimistic

assumptions, Professor Hoxby’s empirical analysis of a community college transfer plan

yielded substantially lower average test scores. (Tr. 1031:14-1032:1 (Hoxby).)

       231.   Professor Hoxby ran this same simulation but substituted transfer students

from North Carolina State University rather than using all the NCERDC data. This

simulation resulted in both substantially lower average test scores and less racial

diversity. (Tr. 1032:2-15 (Hoxby).)

       ii.    SFFA presented no credible expert evidence to contradict Professor
              Hoxby’s conclusions

       232.   The evidence demonstrated that SFFA’s sole proffered expert on race-

neutral alternatives, Mr. Kahlenberg, is not objective. He has known the president of

SFFA since 2003, was heavily involved in editing the Complaint in this action, appeared

at the press conference announcing the commencement of this litigation, and may have

even given advice to SFFA on which universities to sue. (Tr. 461:10-13, 462:11-18,

464:2-23, 465:1-16 (Kahlenberg).)
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       233.   Mr. Kahlenberg is also a self-professed advocate for increasing

socioeconomic diversity. (Tr. 460:23-463:2 (Kahlenberg).) Although socioeconomic

diversity is unquestionably an important goal, including for the University (see supra

¶¶10-11, 153, 159), the relevant inquiry is whether a race-neutral alternative would allow

the University to maintain racial diversity. (Tr. 1015:17-1016:6 (Hoxby); see also Tr.

1016:1-6 (Hoxby).) Mr. Kahlenberg does not dispute, and in fact agreed, that there are

distinct benefits to racial diversity. (Tr. 399:2-15, 414:25-415:2, 504:13-16

(Kahlenberg).)

       234.   Mr. Kahlenberg is not qualified—and does not claim to be qualified—to

perform econometric analysis and modeling to simulate race-neutral alternatives. (Tr.

466:20-467:22 (Kahlenberg).) Instead, Professor Arcidiacono executed race-neutral

simulations based on Mr. Kahlenberg’s instructions; most of these simulations were

based off models that Professor Arcidiacono created. (Tr. 296:9-17 (Arcidiacono).) As of

his deposition, Mr. Kahlenberg had never even seen the work papers submitted in support

of the simulations contained in his expert reports. (Tr. 466:20-467:22 (Kahlenberg).)

When he formulated opinions about these simulations of race-neutral alternatives, Mr.

Kahlenberg did not know and had no way to test whether Professor Arcidiacono was

using overfit models or conducting analyses, such as creating the Arcidiacono Index, that

were not based on the actual University admissions process. (Tr. 468:6-471:8

(Kahlenberg).)



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       235.   Additionally, certain of Mr. Kahlenberg’s broad assertions about race-

neutral alternatives are contradicted by other record evidence. Mr. Kahlenberg asserted

that a SES-based race-neutral alternative would be more likely to succeed if the

University would broaden its definition of socioeconomic disadvantage to account for an

applicant’s “wealth” rather than income. (Tr. 1215:8-11 (Long).) But implementing such

a policy, particularly if it meant that a university would no longer be “need-blind” as to

an applicant’s financial aid needs, would be a “fundamental change to how admissions

committees do their work or how they strive to do their work to not disadvantage low-

income students.” (Tr. 1215:2-7 (Long); see also 555:17-556:14 (Farmer).)

       236.   Perhaps more fundamentally, universities do not possess applicant wealth

information. (Tr. 1210:24-1211:3, 1215:22-25 (Long).) Mr. Kahlenberg’s assertion that

universities could use the FAFSA form to acquire information about applicant wealth is

contradicted by Dean Long’s credible testimony concerning the FAFSA. (Tr. 452:2-19

(Kahlenberg); Tr. 1216:1-1218:24 (Long).) Dean Long testified that requiring additional

forms, including additional financial status forms, can discourage low-income students

from applying because “every form is a barrier.” (Tr. 1231:3-13 (Long); see also Tr.

556:4-14 (Farmer).)

       237.   Other of Mr. Kahlenberg’s broad assertions are similarly unsupported—if

not contradicted by the record evidence or even the testimony of Professor Arcidiacono.

For example, Mr. Kahlenberg posited that UNC should eliminate any preference for

legacy applicants. (Tr. 415:20-416:12 (Kahlenberg).) But Mr. Kahlenberg ignored that

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Professor Arcidiacono admitted that any purported legacy preference has a “minimal

effect” on the admissions process. (Tr. 317:20-24 (Arcidiacono).) Likewise, Mr.

Kahlenberg asserts that the University can afford any socioeconomic status-based

admissions regime because of the size of the University’s endowment. (Tr. 458:15-

459:12 (Kahlenberg).) But Mr. Kahlenberg did no analysis as to the financial cost to the

University of increasing certain measures designed to support socioeconomic diversity or

whether the University’s endowment might be restricted. (Tr. 496:13-498:22

(Kahlenberg).)

              (a)    Mr. Kahlenberg overstated the success of other institutions in
                     implementing race-neutral alternatives

       238.   Dean Long credibly testified that Mr. Kahlenberg overstates how effective

race-neutral alternatives have been or would be because he failed to pay sufficient

attention to the details of the studies and context of the institutions that implemented

them. (Tr. 1210:11-23 (Long).)

       239.   Mr. Kahlenberg admitted that when the University of California at

Berkeley and UCLA stopped considering race in the admissions process due to a change

in state law in 1996, they experienced a sharp drop in racial diversity. (Tr. 490:13-22

(Kahlenberg).) Indeed, when Mr. Kahlenberg submitted a personal amicus brief to the

Supreme Court in 2014, UCLA still had not reached its prior levels of racial diversity

using race-neutral alternatives. (Tr. 491:5-12 (Kahlenberg).) Likewise, at his 2018

deposition in this case and in his 2017 expert report in the Harvard litigation, Mr.

Kahlenberg cited the same 2012 study showing that both UCLA and Berkeley had been
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unable to achieve their prior levels of racial diversity in the 15 years since they

discontinued race-conscious admissions. (Tr. 493:20-494:17 (Kahlenberg).)

       240.   Mr. Kahlenberg emphasized that, in the last year, the University of

California at Berkeley and UCLA achieved their highest levels of racial diversity ever.

(Tr. 494:4-11 (Kahlenberg).) But as even Mr. Kahlenberg admitted and as Dean Long

testified, the race-neutral policies put in place at those institutions failed for 20 years to

achieve the level of racial diversity achieved using race-conscious admissions. (Tr.

1199:5-19 (Long); Tr. 494:18-25 (Kahlenberg).) Thus, it is not credible to attribute the

racial diversity finally achieved in a recent admissions cycle year to the 1996 policy

change enacted by the California legislature and to claim that such an approach means

that the University would be able to maintain its level of racial diversity. (Tr. 1199:9-

1200:6 (Long).)

       241.   Likewise, universities—most notably the University of Texas at Austin—

that have implemented percentage plans have struggled to maintain racial and ethnicity

diversity. (Tr. 1197:2-17 (Long).) Dean Long testified that academic literature that has

studied the experience of Texas questions the success of its percentage plan at

maintaining racial diversity because the underlying demographics of the Texas

population were also changing at the time to become more diverse. (Tr. 1198:9-16

(Long).)

       242.   Mr. Kahlenberg’s testimony that race-neutral alternatives have been

successfully implemented also ignores the indirect effects of the change in admissions

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policy, including that applicant behavior might change. As Dean Long testified,

researchers have documented that parents have moved school districts as a result of the

changed incentives for their child to attend a different high school where his or her

chances of admissions to a university may change. (Tr. 1201:1-21 (Long).)

       243.    Additionally, all of the academic literature relating to socioeconomic status-

based plans are hypothetical simulations because no university has implemented such a

plan. Thus, these thought experiments provide limited insights as to what might actually

be feasible for colleges and universities to implement—not the conclusive evidence that

Mr. Kahlenberg claims. (Tr. 1207:4-10 (Long).) Similarly, many of the hypothesized

plans and approaches put forth by researchers require data that an admissions committee

would not have, or use assumptions that are not reasonable for the real world; these

simulations rely on models that do not look like what real admissions offices look like

and how they do their work. (Tr. 1207:15-18 (Long).)

       244.    Finally, Mr. Kahlenberg’s testimony that other universities have

“abandoned” early admissions to increase “fairness” and provide more racial and ethnic

diversity selectively ignores the actual experience of other universities. 8 As Mr.

Kahlenberg admitted on cross examination, Harvard—a university that abandoned early



8
    Mr. Kahlenberg’s characterization of the University’s process also borders on inaccurate.
    Contrary to Mr. Kahlenberg’s characterization, the University does not require a binding
    commitment to attend if an applicant applies early (so-called “Early Decision”) but allows an
    applicant to apply early and apply to other schools (so-called “Early Action”). (Tr. 558:22-24
    (Farmer).)

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admissions in 2006—reinstituted the approach because it was concerned that it was

receiving less qualified applicants. (Tr. 500:24-502:21 (Kahlenberg).)

              (b)    The “success” of Mr. Kahlenberg’s simulations depends upon
                     numerous unrealistic assumptions

                     (1)    Mr. Kahlenberg’s simulations fail to account for
                            reasonably foreseeable changes in applicant behavior

       245.   Mr. Kahlenberg’s simulations—both his percentage plans and SES-based

plans—frequently failed to consider that the applicant pool would change if the

admissions process changed. (Tr. 1014:1-6 (Hoxby).) This assumption that the applicant

pool would hold constant “creates an unrealistic environment in which none of the newly

eligible students who would be guaranteed admission or would have had their admissions

probability go up by a great deal decide to apply.” (Tr. 1014:8-12 (Hoxby).) Mr.

Kahlenberg’s assumption means the University would “never add[] newly eligible

students to the pool who might be less qualified,” or change “the racial and ethnic

composition of the applicant pool.” (Tr. 1014:11-14 (Hoxby).) As Professor Hoxby

credibly explained, Mr. Kahlenberg’s decision to keep the applicant pool constant is

“terribly unrealistic” and at odds with the experience of other public universities like

Texas and California. (Tr. 1014:15-18 (Hoxby).)

       246.   Mr. Kahlenberg’s primary percentage plan is not based on high school class

rank. Instead, he used Arcidiacono’s model that incorporates the Admissions Office

ratings to rank students and then admits the top 4.5% of students from each high school

based on their ranking within Professor Arcidiacono’s model. (Tr. 1021:15-1022:15

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(Hoxby).) Using this approach means that the percentage plan did not consider any

students who did not already apply to the University. This assumption runs contrary to

the evidence of other institutions that have implemented race-neutral alternative

admissions and observed a change in applicant behavior. This assumption also means that

the Kahlenberg percentage plan will unreasonably favor the alternative’s ability to match

the University’s current level of racial diversity because it assumes all students who

already apply will to continue to apply—an assumption Mr. Kahlenberg previously

asserted was “audacious.”9 (Tr. 480:10-482:13 (Kahlenberg).)

       247.   Mr. Kahlenberg’s claim that his choice to use Arcidiacono’s model of the

University’s admissions process as the basis for his percentage plan was an attempt to

mimic holistic admissions reflects the limitations of his ability to design econometric

analysis. No university has implemented a percentage plan that is not based on high

school class rank. (Tr. 1022:16-18 (Hoxby).)

                     (2)    Mr. Kahlenberg originally failed to properly account for
                            the size of the admitted class and then improperly filled
                            the remaining seats in the class based on an equal
                            weighting of test score and GPA

       248.   Mr. Kahlenberg’s testimony concerning percentage plans is less credible

than Professor Hoxby’s because of numerous errors that he made.




9
    Mr. Kahlenberg criticized Dr. Kretchmar’s use of the same assumption as “audacious” when
    she used it in modeling certain race-neutral alternatives. (Tr. 482:11-13 (Kahlenberg).)

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       249.   Mr. Kahlenberg selected the percentage of students to be admitted in his

simulations. (Tr. 297:2-3 (Arcidiacono).) In his original percentage plan simulation

(Simulation 5), Mr. Kahlenberg made two errors and, as a result, simulated admitting a

class that was 30% smaller than the University’s average class size. (Tr. 472:2-473:13,

473:23-474:8, 473:18-22, 474:24-475:11 (Kahlenberg).)

       250.   Before Professor Hoxby identified these errors and another error that

resulted in the average SAT score in Simulation 5 being 75 points too high, Mr.

Kahlenberg opined that Simulation 5 was “superior to the status quo in virtually every

respect” and represented a “viable race-neutral alternative.” (Tr. 472:18-22, 473:7-13

(Kahlenberg).)

       251.   When he attempted to fix these errors, Mr. Kahlenberg instructed Professor

Arcidiacono to fill the remaining class seats with top students using what was akin to an

academic index focused on grades and test scores. (Tr. 474:12-16 (Kahlenberg).) This

approach (Simulation 8) also assumes that every student in North Carolina with top test

scores and grades applies to the University and would always be admitted—an

assumption that is not realistic. (Tr. 1024:3-18 (Hoxby).) Thus, Mr. Kahlenberg’s choice

to admit the students with the highest test scores and GPA also means that the average

test score and GPA under this simulation will be artificially inflated.

       252.   Mr. Kahlenberg’s approach also fails to account for changes in applicant

behavior by assuming that every single underrepresented minority applicant who



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previously applied to the University would still continue to apply even if race-conscious

admissions were discontinued. (Tr. 478:22-479:3 (Kahlenberg).)

       253.   Mr. Kahlenberg also simulated a 4% plan (Simulation 9) that filled 75% of

the available seats with the students in the NCERDC data with the highest probability of

admission under Professor Arcidiacono’s model 2. (Tr. 480:18-481:8 (Kahlenberg).)

Simulation 9 unrealistically assumes that every public high school student in North

Carolina, including every valedictorian, will apply to the University. (Tr. 482:14-19

(Kahlenberg).) Yet, even with this assumption, racial diversity for Hispanic, Asian, and

Native American applicants would decrease by at least 10%. (Tr. 482:20-484:16

(Kahlenberg).)

                     (3)    Mr. Kahlenberg provides unrealistic “boosts” for
                            socioeconomic disadvantage

       254.   Mr. Kahlenberg does not provide credible evidence showing that an SES-

based plan would allow the University to maintain similar levels of racial and ethnic

diversity and academic preparedness. (Tr. 1016:9-15 (Hoxby).)

       255.   Mr. Kahlenberg based his original SES simulation (Simulation 3) on the

current University applicant pool using Professor Arcidiacono’s preferred model. (Tr.

484:17-23 (Kahlenberg).) Mr. Kahlenberg provided applicants with a “bump” in their

admission chances if they met one of several SES-based criteria: (1) first-generation

college status, (2) applied for a fee waiver or were eligible for free or reduced price

lunch, and/or (3) lived in a North Carolina zip code with a median income in the bottom

third nationally. (Tr. 484:24-485:12 (Kahlenberg).) An applicant could receive multiple
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bumps. (Tr. 485:13-14 (Kahlenberg).) Mr. Kahlenberg selected the size of the bumps

used to give an SES preference. (Tr. 297:4-19 (Arcidiacono).)

      256.   Mr. Kahlenberg’s SES-plan simulations appear successful because he

provides an “unrealistically large” SES bump. As Professor Hoxby testified, and Mr.

Kahlenberg admitted, the boost is so large that a student could have hundreds of SAT

points added to his SAT score. (Tr. 1015:4-16 (Hoxby); Tr. 485:25-486:2 (Kahlenberg)

(“Q: And if the bump was doubled, it could be 400 some – well over 400 points on the

SAT, correct? A: That’s correct.”).)

      257.   Even though such a significant bump would create a strong incentive for

any applicant who would receive one or more bumps to apply, Mr. Kahlenberg’s

simulation assumed the applicant pool would not change. (Tr. 486:20-487:6

(Kahlenberg).) It is not credible to assume that a student with an 1100 SAT score who

had not applied to the University before but who would now be treated as if he had

scored a 1500 on the SAT would not behave differently.

      258.   Mr. Kahlenberg admitted that his assumption that the applicant pool would

not change affected the results of the simulations, and acknowledged that when Professor

Hoxby ran the simulation using the broader applicant pool reflected in the NCERDC

data, the average SAT score fell. (Tr. 487:7-488:1 (Kahlenberg).)




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                        PROPOSED CONCLUSIONS OF LAW

I.     CONTROLLING SUPREME COURT PRECEDENT PERMITS THE
       CONSIDERATION OF RACE IN ADMISSIONS

       Time and time again, the U.S. Supreme Court has approved the use of race-

conscious admissions policies in higher education as a means to enhance student-body

diversity. See Grutter v. Bollinger, 539 U.S. 306 (2003); Fisher v. Univ. of Tex. at Austin,

570 U.S. 297 (2013) (“Fisher I”); Fisher v Univ. of Tex. at Austin, 136 S. Ct. 2198 (2016)

(“Fisher II”). To decide whether any such policy complies with the Equal Protection

Clause of the Fourteenth Amendment, courts apply strict scrutiny. Fisher I, 570 U.S. at

308, 309-10; Fisher II, 136 S. Ct. at 2208. Under this standard, a university must

demonstrate that its race-conscious admissions program is narrowly tailored to further a

compelling interest. Fisher II, 136 S. Ct. at 2208.

       The Supreme Court has recognized that that a university’s pursuit of “the

educational benefits that flow from student body diversity” is a compelling interest that

may justify the consideration of race in admissions. Id. at 2210; Grutter, 539 U.S. at 328.

Diversity that furthers a compelling interest encompasses a broad “‘array of

qualifications and characteristics of which racial or ethnic origin is but a single though

important element.’” Fisher I, 570 U.S. at 308 (quoting Regents of the Univ. of Calif. v.

Bakke, 438 U.S. 265, 315 (1978).) Racial diversity, in particular, imparts distinct benefits

to a university’s educational program; a diverse student body “promotes cross-racial

understanding, helps to break down racial stereotypes, and enables students to better

understand persons of different races.” Fisher II, 136 S. Ct. at 2210 (quoting Grutter, 539
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U.S. at 330). “Equally important, ‘student body diversity promotes learning outcomes,

and better prepares students for an increasingly diverse workforce and society.’” Id.

(quoting Grutter, 539 U.S. at 330).

       The decision to pursue the educational benefits of diversity “is, in substantial

measure, an academic judgment.” Fisher II, 136 S. Ct. at 2208; see also Grutter, 539

U.S. at 329 (recognizing that a university’s autonomy to select a student body is an

academic freedom rooted in the First Amendment); Bakke, 438 U.S. at 312 (same). Thus,

a university’s “reasoned, principled explanation for its decision” to pursue the

educational benefits of diversity deserves considerable judicial deference. Fisher II, 136

S. Ct. at 2208 (internal quotation marks omitted); see also id. at 2214 (“Considerable

deference is owed to a university in defining those intangible characteristics, like student

body diversity, that are central to its identity and educational mission.”). Indeed, “absent

‘a showing to the contrary,’” courts may “presume[]” a university’s “‘good faith’” in

choosing to pursue the educational benefits of diversity. Grutter, 539 U.S. at 329

(quoting Bakke, 438 U.S. at 318-19).

       A race-conscious admissions approach is narrowly tailored when there is a close

“fit” between the university’s consideration of race and its “compelling goal” of

diversity, so that there is “little or no possibility [for] illegitimate racial prejudice or

stereotype.” Grutter, 539 U.S. at 334 (quoting Richmond v. J.A. Croson Co., 488 U.S.

469, 493 (1989) (plurality op.)). Thus, universities cannot use a quota system or separate

admissions tracks, engage in racial balancing, or automatically assign numerical values to

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race. Id.; Fisher I, 570 U.S. at 311; Gratz v. Bollinger, 539 U.S. 244, 273-74 (2003).

Instead, the Supreme Court has found race-conscious admissions programs to be

narrowly tailored when universities consider race flexibly as part of an “individualized,

holistic review” of each applicant, “giving serious consideration to all the ways an

applicant might contribute to a diverse educational environment.” Grutter, 539 U.S. at

309, 337; see also Gratz, 539 U.S. at 271. Such individualized consideration assures that

all applicants “‘have been weighed fairly and competitively,’”—and not prejudiced due

to their race or ethnicity. Grutter, 539 U.S. at 341 (quoting Bakke, 438 U.S. at 318).

       In addition, to satisfy narrow tailoring, a university must show that “‘race-neutral

alternatives’ that are both ‘available’ and ‘workable’ ‘do not suffice.’” Fisher II, 136 S.

Ct. at 2208 (quoting Fisher I, 570 U.S. at 312) . That is, the university must have

considered race-neutral alternatives and concluded that they do not promote the

university’s goals “about as well [as race-conscious practices] and at tolerable

administrative expense.” Id. (quoting Fisher I, 570 U.S. at 312). However, “exhaustion of

every conceivable race-neutral alternative” is not required. Id. (quoting Grutter, 539 U.S.

at 339). Nor must a university “choose between a diverse student body and a reputation

for academic excellence.” Id. at 2213. Accordingly, a race-neutral alternative need not be

implemented if it would compromise a university’s “reputation for excellence,” or if it

would undermine the university’s commitment to “all . . . aspects of diversity”—

including, but not limited to, diversity based on race. Id.



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         In short, controlling Supreme Court precedent makes clear that a race-conscious

admission program is constitutionally permissible where two conditions are met: (1) the

university engages in a holistic, individualized review of each applicant, considering race

flexibly as only one factor among many, and (2) available race-neutral alternative

approaches would not allow the university to achieve its compelling interest in diversity

without sacrificing academic quality or incurring unreasonable expense.

II.      THE UNIVERSITY’S ADMISSIONS PROGRAM IS CONSTITUTIONAL

A.       The University Demonstrated Its Compelling Interest in Diversity

         The uncontested evidence in this case demonstrates that the University has a

compelling interest in attaining the educational benefits of diversity—including racial

diversity. As a public institution that strives to prepare the next generation of leaders, the

University has determined, in its academic judgment, that it must provide students with a

diverse learning environment. (Supra, Proposed Findings of Fact (“FOF”) ¶¶9-10.) This

decision is consistent with the Supreme Court’s recognition that, “[i]n order to cultivate a

set of leaders with legitimacy in the eyes of the citizenry, it is necessary that the path to

leadership be visibly open to talented and qualified individuals of every race and

ethnicity.” Grutter, 539 U.S. at 332.

         For more than two decades, the University has emphasized—in academic plans,

official reporting, and a unanimously approved Faculty Council resolution—that student-

body diversity is a deeply held value, central to the University’s identity and mission.

(FOF ¶¶14-16.) The record demonstrates that racial diversity is a critical component of

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student body diversity, necessary to achieve the educational benefits the University seeks

to provide its students. Faculty, students, and alumni testified at trial and through

declarations that racial diversity provides unique benefits to the lived student experience.

(FOF ¶¶18-24.) To name just a few, these benefits include breaking down stereotypes,

encouraging empathy, promoting innovation, and providing a depth and breadth of

learning experiences. (FOF ¶¶19-20, 23.) The University intentionally pursues these

benefits, both in and out of the classroom, through its programming, events, initiatives,

and policies, thoughtfully creating a campus environment where the educational benefits

of diversity can be realized. (FOF ¶¶25-30.)

       Additionally, the record demonstrates that the University regularly assesses its

effectiveness in delivering these benefits to students. (FOF ¶31.) This ongoing process of

self-evaluation includes the collection and analysis of quantitative and qualitative data

over many years. (FOF ¶¶32-33.) More recently, the University convened a committee

specially charged with enhancing the University’s efforts to assess its progress toward

achieving, and improve its delivery of, the educational benefits of diversity. (FOF ¶¶34-

38.) These deliberate and sustained efforts demonstrate that the University has

endeavored, in good faith, to continually assess and fulfill its commitment to attaining the

educational benefits of diversity.

       Although faculty and students testified to experiencing the educational benefits of

diversity at the University (FOF ¶¶18-24), the record also demonstrates that the

University has not yet fully achieved its goals. In particular, Mr. Farmer, the University’s

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Vice Provost for Enrollment and Undergraduate Admissions, Dr. Panter, the Senior

Associate Dean for Undergraduate Education, and the student-intervenors explained how

minority students remain underrepresented on the University’s campus, including in

certain classes and fields of study. (FOF ¶¶39-43.) These witnesses testified that the

continuing lack of racial diversity risks undermining both the University’s ability to

fulfill its mission and students’ ability to learn, grow, and thrive on campus. (FOF ¶¶40-

41.)

       At trial, SFFA did not contest the legitimacy of the educational benefits of

diversity. Indeed, SFFA’s expert acknowledged these benefits, including the distinct

benefits associated with racial diversity. (FOF ¶233.) Nor did SFFA dispute at trial that

the University’s pursuit of this compelling interest was genuine. Thus, although SFFA’s

Complaint suggested that the University’s pursuit of the educational benefits of diversity

is inauthentic and pretextual, SFFA effectively abandoned any such claim at trial. In

short, the University’s compelling interest in pursuing the educational benefits of

diversity is established and uncontested. The University has more than adequately

provided a “reasoned, principled explanation for its decision” to pursue these benefits

and, in these circumstances, the University’s considered judgment is entitled to “judicial

deference.” Fisher II, 136 S.Ct. at 2208 (quoting Grutter, 539 U.S. at 339).




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B.      The University Demonstrated that Its Use of Race in Admissions Is Narrowly
        Tailored

        i.     The University conducts a holistic, individualized review of each
               applicant, considering race flexibly as only one factor among many

        Consistent with Supreme Court precedent, the University engages in a “highly

individualized, holistic review of each applicant’s file, giving serious consideration to all

the ways an applicant might contribute to a diverse educational environment.” Grutter,

539 U.S. at 337; see Fisher II, 136 S. Ct. at 2205-06. The record demonstrates that

readers evaluate each application for admission in its entirety and attempt to understand

each student on an individual basis, assessing all the ways he or she might contribute to

the student body. (FOF ¶¶53, 66, 75-76, 88; cf. FOF ¶105 (application readers comply

with admissions policies and training).)

        It is undisputed that applicants to the University are not required to disclose their

race or ethnicity and are not penalized in any way for declining to do so. (FOF ¶¶58-60.)

The parties stipulated and the evidence shows that readers evaluate applicants taking into

account dozens of criteria across broad categories. (FOF ¶76; see also FOF ¶¶77-86

(describing certain criteria and considerations).) If voluntarily disclosed, race is only one

factor among many that application readers may consider when individually assessing

applicants in a multi-dimensional, holistic manner. (FOF ¶¶73, 85.) Mr. Rosenberg, an

Associate Director of Admissions who is responsible for day-to-day management of the

application-review process and reader training, described the extensive and continuous

training that readers receive, including on holistic review and the proper consideration of

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race in admissions. (FOF ¶¶65-73.) Mr. Rosenberg also testified to his first-hand

observation that, when evaluating applications, readers properly consider race and

ethnicity as only one factor among many. (FOF ¶105; see also FOF ¶75 (readers properly

employ holistic review).)

       Although readers assign ratings for certain admissions categories, it is undisputed

that there are no minimum rating thresholds or formulas for admission. (FOF ¶78.) The

record demonstrates that the University does not assign any points for race. (FOF ¶85.)

Nor does the University employ quotas or separate admissions processes for applicants of

different races. (FOF ¶¶60, 101.) Additionally, although SFFA’s Complaint alleged that

the University manipulated the admissions process and engaged in racial balancing, the

facts developed at trial proved any such allegation false. There is no evidence that the

University manipulates the admissions process or engages in racial balancing, including

during School Group Review or in connection with the Waiting List. (See FOF ¶¶101-

102, 104.) Indeed, SFFA abandoned this allegation when it did not even attempt to

present contrary evidence at trial. Likewise, no evidence was presented at trial suggesting

the University intentionally discriminates against applicants on the basis of race.

       Expert evidence reinforces that the University’s admissions process is holistic.

Through careful empirical analysis, Professor Hoxby established that the University’s

admissions decisions are fully consistent with a holistic, non-formulaic admissions

process. (FOF ¶112.) Likewise, SFFA’s experts conceded that the University’s

admissions process is individualized and holistic. (FOF ¶112.)

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        Thus, the evidence presented at trial clearly establishes that the University’s

practices closely align with applicable Supreme Court guidance concerning the

consideration of race in admissions. That is, the University permissibly considers race

“flexibly as a ‘plus’ factor in the context of individualized consideration of each and

every applicant.” Grutter, 539 U.S. at 334.

        The only evidence SFFA offered to support its claim that the University

impermissibly uses race in an outsized way is the expert testimony of Peter Arcidiacono.

Even if Professor Arcidiacono’s testimony were credible,10 he fails to answer the relevant

question properly framed through the lens of Supreme Court precedent. Professor’s

Arcidiacono’s assertion that race dominates the University’s admissions process rests

entirely on his claim that race and ethnicity is determinative for—at most—a subset of

applicants. But the Supreme Court has already rejected this position. As the Court noted

in Grutter when finding the University of Michigan Law School’s race-conscious

admissions program constitutional, the petitioner’s expert, Dr. Larntz, had concluded that

applicants in certain minority groups “‘are given an extremely large allowance for




10
     As discussed in detail in the Findings of Fact, Professor Arcidiacono’s testimony was not
     credible. In numerous instances, Professor Arcidiacono made unnecessary and non-standard
     choices that did not correspond to the University’s actual admissions process, including: his
     inappropriate decision to calculate and apply disparate converted SAT scores for applicants
     of different racial groups and gender; his use of an academic index relying only on test scores
     and grades even though the University uses no such index; his “shares” that add up to more
     than 400 percent; and his mathematical transformation exercises that sought to hypothetically
     and unrealistically “transform” an applicant from one race and ethnicity to another. (FOF
     ¶¶129-139, 142-143.)

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admission’” relative to other applicants. Grutter, 539 U.S. at 320. The Court went on to

explain that this conclusion was not controlling, because Dr. Larntz had also conceded

“that race is not the predominant factor in the Law School’s admissions calculus.” Id.

Professor Arcidiacono made the same concession here:

       Q: So you will agree with me that across the whole process of admissions,
       considering all races, race is not the dominant factor?

       A: Yes.

(FOF ¶118.) Professor Arcidiacono further admitted that race is “not a dominant factor

for white applicants.” (FOF ¶127; see also FOF ¶124 (admitting that other factors aside

from race and ethnicity are dominant for many applicants).) The inquiry ends here. Under

Supreme Court precedent, the germane question is not whether an applicant’s race might

have an effect on the outcome for some applicants. It is whether the entire admissions

program is “flexible enough to ensure that each applicant is evaluated as an individual

and not in a way that makes an applicant’s race or ethnicity the defining feature of his or

her application.” Grutter, 539 U.S. at 337; see also Fisher I, 570 U.S. at 309.

       In the context of a selective school such as the University with a highly

competitive applicant pool, any factor (race or any other) may be enough in an individual

case to properly tip the scales toward admission. But that modest consideration of race

does not violate the Constitution. To the contrary, the Supreme Court has characterized

such a sparing and individualized use of race as a “hallmark of narrow tailoring.” Fisher

II, 136 S. Ct. at 2212; Grutter, 539 U.S. at 339. Thus, under Supreme Court precedent,

this case is not about whether race could have tipped the scales toward an individual
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applicant’s (or even a subgroup of applicants’) admission. It is about whether race

predominates across the entire admissions process.

        In contrast, Professor Hoxby properly analyzed the role of race and ethnicity in

admissions decisions across the University’s entire applicant pool. (FOF ¶¶118-125.)

Professor Hoxby concluded that race explains, at most, a very small share of applicants’

admissions outcomes. (FOF ¶¶120, 122-124.) She reached the same conclusion after

applying the proper econometric methodology to a variety of models, including both the

models she constructed and Professor Arcidiacono’s preferred model. (FOF ¶¶122-124.)

Moreover, in multiple instances, Professor Hoxby found that race and ethnicity plays a

smaller role than standardized test scores—an analysis that Professor Arcidiacono made

no effort to conduct.11 (FOF ¶¶121-122, 128.) Professor Hoxby also explained that if a

factor such as race and ethnicity was important for only a subset of applicants rather than

all applicants, her analysis would have demonstrated that effect. (FOF ¶119.) Thus, taken

as a whole, the record evidence establishes that race and ethnicity is not the dominant

factor in the University’s admissions process.




11
     Professor Arcidiacono’s testimony that he was “not sure exactly how to” measure the impact
     of SAT scores on admissions decisions strains credulity. (FOF ¶128.)

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       ii.    No workable race-neutral alternative would allow the University to
              achieve its compelling interest about as well as race-conscious
              admissions

       The University established at trial that it has devoted substantial resources to

considering whether race-neutral alternatives could allow it to meet its educational goals,

but, to date, has not found a workable substitute for holistic, race-conscious review. See

Grutter, 539 U.S. at 339. Since 2004, the University has studied race-neutral alternatives,

including by monitoring the “natural experiments” of other universities, reviewing

available literature, and simulating race-neutral admissions approaches. (FOF ¶¶173-178,

183-186, 188, 191-201.) In late 2012, the U.S. Department of Education’s Office for

Civil Rights separately reviewed the University’s admissions process and concluded that

the University had given serious, good-faith consideration to race-neutral alternatives.

(FOF ¶180.) Since that time, the University convened two separate committees to

rigorously study-race neutral alternatives, and that work remains on-going. (FOF ¶¶183-

186, 188-200.) University witnesses explained that this work has thus far failed to reveal

any race-neutral alternative that would allow the University to achieve racial diversity

about as well, without sacrificing academic quality. (FOF ¶201.) See Fisher II, 136 S. Ct.

at 2208 (establishing that standard).

       Credible expert evidence further bolsters the conclusion that no available race-

neutral alternative would allow the University to achieve its compelling interest.

Professor Hoxby independently performed exhaustive econometric analysis on this point,

running more than 100 race-neutral admissions simulations, including socioeconomic

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status plans, place-based plans, and other suggestions posited by Mr. Kahlenberg. (FOF

¶¶202-203.) As Professor Hoxby testified repeatedly and convincingly, in each instance,

she made very generous assumptions that would favor the race-neutral alternative,

attempting to maximize the chances that it would be able to attain the University’s

current level of racial diversity and academic preparedness. (FOF ¶¶205, 209, 214-216,

224-225.) Despite these assumptions, none of Professor Hoxby’s simulations resulted in

an admitted—much less matriculating—class with the same level of racial diversity and

academic preparedness that the University currently achieves through holistic review. 12

(FOF ¶209.)

        SFFA, through the testimony of Mr. Kahlenberg, failed to establish at trial any

workable race-neutral alternative. To begin, Mr. Kahlenberg’s self-professed advocacy

for increased socioeconomic diversity is admirable and a worthy goal—one shared by the

University. (FOF ¶233 (citing FOF ¶¶10-11, 153, 159).) But racial diversity and

socioeconomic diversity are not one and the same. Thus, any suggestion that a race-

neutral alternative must be employed if it results in greater socioeconomic diversity—even

at the expense of racial diversity—is misplaced in this litigation. See Fisher II, 136 S. Ct.

at 2210 (recognizing distinct benefits of racial diversity); Grutter, 539 U.S. at 330

(same). Student body diversity—including racial diversity—is a compelling interest that



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     This is perhaps unsurprising considering that, to date, no court in the country has found an
     available, workable race-neutral alternative for a highly selective school such as the
     University.

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the University may pursue through race-conscious admissions practices, so long as no

workable race-neutral alternative exists. See Fisher II, 136 S. Ct. at 2208; Fisher I, 570

U.S. at 312.

       With respect to whether there are any race-neutral alternatives that could achieve

racial diversity while maintaining academic preparedness, Professor Hoxby’s vast

experience with econometrics, which she used to design her approach to simulating

hypothetical race-neutral alternatives, makes her testimony more credible than that of Mr.

Kahlenberg. (FOF ¶¶ 111, 234.) In numerous instances, for example, Mr. Kahlenberg’s

simulations reflected basic mathematical and modeling mistakes (some of which were

caught only by Professor Hoxby and not Mr. Kahlenberg or Professor Arcidiacono), such

as failing to account for the actual size of the University’s admitted class. (FOF ¶¶248-

251.) More fundamentally, Mr. Kahlenberg relied on unreasonable, unrealistic

assumptions when conducting his percentage plan and socioeconomic status-based

simulations—particularly with respect to the applicant pool he used. (FOF ¶¶245-246,

251-258.) As both Professor Hoxby and Dean Long testified, there is strong, real-world

evidence from other universities that moving away from race-conscious admissions alters

applicant behavior, i.e., whether they will apply or not. (FOF ¶¶215, 242, 245.) Thus, Mr.

Kahlenberg’s decision to hold the applicant pool constant in his simulations erroneously

failed to account for the actual and foreseeable effects on the applicant pool that go along

with the race-neutral alternatives in question. (FOF ¶¶245-246, 252-253.) It is simply not

credible to assume that students whose likelihood of admission would change

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substantially under a new admissions regime—including, in some of Mr. Kahlenberg’s

proposals, effectively adding hundreds of points to their SAT scores—would not alter

their behavior. Because Mr. Kahlenberg’s simulations require such nonsensical

assumptions to reach results that appear facially successful, those simulations are simply

unreliable.

       Moreover, SFFA failed to advance any credible evidence that other universities

have successfully implemented race-neutral alternatives that the University has not

considered. Dean Long credibly testified that Mr. Kahlenberg overstates the effectiveness

of race-neutral alternatives implemented by other universities or considered in academic

studies and literature. (FOF ¶¶237-238.) Similarly, the claim by Mr. Kahlenberg that an

alternative based on socioeconomic status would be workable if the University would

make just a little more effort is not persuasive. First, Dean Long testified that need-blind

universities like the University do not have access to the sort of wealth information that

Mr. Kahlenberg asserts would make socioeconomic status-based plans successful. (FOF

¶236.) Second, even if the University decided to abandon need-blind admissions, both

Dean Long and Mr. Farmer persuasively testified that socioeconomic-focused efforts are

not likely to succeed—and could, in fact, be counterproductive; any additional steps and

forms can be an incremental barrier to low-income students applying, and the current

FAFSA form does not provide the type of wealth information that Mr. Kahlenberg asserts

it contains. (FOF ¶236.) Mr. Kahlenberg’s testimony also ignores the feasibility of and



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expense associated with implementing this sort of novel admissions approach. (FOF

¶237.)

         Finally, Mr. Kahlenberg’s claim that implementing or enhancing additional race-

neutral strategies would allow the University to no longer consider race is contradicted by

strong record evidence that the University already engages in substantial race-neutral

strategies to complement its race-conscious admissions practices. The record reflects that

the University engages in robust recruiting, partners with disadvantaged high schools,

attempts to increase community college transfers through programmatic efforts, and

offers generous financial aid. (FOF ¶¶148-159, 162, 165-168.) Mr. Kahlenberg asserts

that the University could do “more” to recruit minority students through these methods;

however, he admitted that none of these strategies could, on their own, replace the

University’s current admissions approach. (FOF ¶227.)

         Moreover, Mr. Kahlenberg’s assertions are not only unsupported by any analysis

but also contradicted by credible record evidence. Mr. Kahlenberg claims that any

increased cost is no issue for the University even though he undertook no analysis to

support his assertions (FOF ¶237) and University employees testified that current efforts

are extensive and not capable of being quickly or affordably expanded. (FOF ¶¶159-172.)

Just as important, Professor Hoxby’s empirical analysis demonstrates that expanding

certain of these efforts would not be successful. In each instance where Mr. Kahlenberg

suggested that the University could simply “do more” with race-neutral strategies, such

as increasing the number of community college transfers or partnering with

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disadvantaged high schools, Professor Hoxby empirically tested Mr. Kahlenberg’s

amorphous suggestion (even though Mr. Kahlenberg himself provided no specificity and

performed no empirical analysis) and found that none of these concepts would allow the

University to maintain racial and ethnic diversity or its current levels of academic

preparedness. (FOF ¶¶228-231.)

       Based on the evidence presented at trial, the University has met its burden to show

that it has engaged in the serious, good-faith consideration of race-neutral alternatives

and that none would work about as well to further the University’s compelling interest.

                                     CONCLUSION

       The UNC Defendants have carried their burden to establish that the University’s

sparing use of race in admissions is narrowly tailored to achieve its compelling interest in

the educational benefits of diversity. For the foregoing reasons, and on the bases reflected

in the UNC Defendants’ proposed findings of fact and the trial record, the UNC

Defendants respectfully request that the Court adopt the UNC Defendants’ proposed

findings of fact and conclusions of law, find that the University’s admissions practices

are constitutional, and enter judgment in favor of the UNC Defendants on Counts I and II

of the Complaint.




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     Respectfully submitted this 5th day of February, 2021.

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                            CERTIFICATE OF SERVICE

      I hereby certify that I caused to be served the foregoing UNC Defendants’

Proposed Findings of Fact and Conclusions of Law via the Court’s electronic filing

systems, pursuant to the Electronic Filing Procedures, on all attorneys of record who have

entered an appearance by ECF in this matter.

      This 5th day of February, 2021.

                                                       /s/ Patrick Fitzgerald
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